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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MIBHIGAN
SOUTHERN DIVISION

POOR QUALITY ORIGINAL
DERRICK LEE CARDELLO-SMITH,
Plaintiff,
LL E Case No 2:24-12647.
Vs DEC 19 2024 HONORABLE JUDITH LEVY
SEAN COMBS CLERK
Defendant, DETHOT

/

PLAINTIFFS CORRECT AND UPDATED COPY

ee ——_ OF _ THE
PLAINTIFFS ANSWER TO THE DEFENDANT'S MOTION TO DISMISS

[AND BRIEF IN SUPPORT]

Plaintiff, acting Pro Per hereby files this Answer to the
Defendants Motion to Dismiss with Brief in support and Asks
this Court to NOT GRANT DISMISSAL WITH PREJUDICE because the
Plaintiff can FULLY SUPPORT AND OVERCOME THE STATUTE OF
LIMITATIONS REQUIREMENT CONTRARY TO THE DEFENDANTS CLAIM and
Object to the Dismissal of all claims based on Plaintiff in
Fact being able to STATE A CLAIM(s) UPON WHICH RELIEF CAN BE
AND MUST GE GRANTED and Most importantly, BECAUSE THE DEFENDANT
SEAN COMBS-~-P.DIDDY-PUFF DADDY LURED, DRUGGED SEXUALLY ASSAULTED
THE PLAINTIFF and DEFENDANTS ACKNOWLEDGMENT THAT SERVICE HAS
BEEN MADE BASED ON THEIR GROUND FOR REMOVAL and ADMISSIONS TO
SERVICE ON SEPTEMBER 9, 2024, and most importantly, the
Plaintiff states that Federal rules of Civil procedure 12(b)(5)
and 12(b)(6) do not apply for dismissal on the grounds of all
claims cited by the Defendants Attorneys because the defendant
has committed acts that are of a “CONTINUING VIOLATIONS
DOCTRINE" and "EMERGING DOCTRINE" and “THREATS TO MURDER
PLAINTIFFS FAMILY AND FRIEND IF PLAINTIFF FILED A REPORT OR

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LAWSUIT ON HIS RAPING THE PLAINTIFF" AND “PLAINTIFF BELIEVING
THAT IF HE FILED A REPORT OR LAWSUIT OR TOOK FURTHER ACTION,
PLAINTIFF WOULD BE AIDING AND ABBETTING IN THE DEATHS OF HIS
FAMILY AND FRIENDS BY DEFENDANT AND HIS ASSOCIATES" where the

following has occurred as detailed within the Brief in Support.

you for your ti

November 25, 2024
r. Derrick Lee

#267009

Plaintiff in Pro Per

ardello-Smith

E.C. Brooks Correctional Facility
____-___2500_S.._Sheridan_Drive—

Muskegon, MI 49444

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PLAINTIFFS ANSWERS TO THE DEFENDANTS
3 STATEMENTS OF THE ISSUES PRESENTED

1. The Claims Against the Defendants Should Not Be dismissed
because the Statute of Limitations has in fact been tolled,

and are not time barred.

2. The Claims against Defendant should NOT BE DISMISSED FOR
LACK OF PROPER SERVICE BECAUSE Defendants did in fact
acknowledge serve of the Summons and the Lawsuit because it is
in fact their own statement acknowledging that hey know about
the lawsuit from NATIONWIDE MEDIA OUTBREAKS AND RELEASES and
they have stated that ‘WITHIN 30 DAYS OF SERVICE THEY CAN

OO REMOVE IT TO FEDERAL COURT, and they have acknowledged that

they were served on September 9, 2024 and that they moved
within 30 days of their being served, See (DEFENDANTS NOTICE
OF REMOVAL OF OCTOBER 7, 2024) and their own acknowledgment)
So, since this court has already denied this Plaintiffs
Motions to Remand and have acknowledged that the Defendants
Have filed a Timely notice of Removal within 30 days of
Service, the issue of Service cannot be relied upon now by the
Defendant, and they cannot have it both ways, as they are

trying to do in their motion to dismiss.

3. The Claims against Defendant ARE VERY PLAUSIBLE ON THEIR
FACE AND SHOULD NOT BE DISMISSED because they Happened, and
are Real and their Client is in fact a Rapist and is in fact a
thief who stole money from this Plaintiff who invested the
money into his company and then the Defendant Raped Plaintiff
and covered it up with his associates, and Plaintiff has PROOF
OF IT HAVING TAKEN PLACE and that it should be ALLOWED TO
PROCEED AND NOT DISMISSED And as such, the answer to all three

of the issues presented is in fact NO.
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Defendant Sean Combs Drugged, Attacked and Violently
Sexually Assaulted the Plaintiff in June 1997, by Placing his
Erect Penis into this Plaintiffs Rectum and Violating this
Plaintiff with his penis until he was Sexually Satisfied that
he had 'Broken The Plaintiff" and "Broke a Man" and ‘Owned me".
Plaintiff can State a Claim on these claims and Most

importantly, will state the claims, B. Plaintiff can survive

_..-— Defendant and his Associates had Threatened to Murder the
Plaintiff, Plaintiffs Family, plaintiffs Friends, Co-Investors
into Bad Boy Records Label, if the Plaintiff had ever "FILED A
REPORT, OR A LAWSUIT AGAINST THE DEFENDANT.", C. Plaintiff can
demonstrate EXTRAORDINARY AND EXCEPTIONAL CIRCUMSTANCES TO THE
STATUE OF LIMITATIONS BEING TOLLED had the Plaintiff waited any

longer to file the Personal injury Claim or take any action

|
the Statute of Limitations due to equitable Tolling where the

whatsoever on the record, as will be demonstrated and proven in

the brief in Support and already on the court record, through 5
affidavits, and D. DEFENDANT SEAN COMBS IS A_ VIOLENT,
NARCISSISTIC, ASSAULTIVE, DECEPTIVE, MAILIPULATIVE,

EXTORTIONIST, THIEF, BREACH OF CONTRACTOR, SADISTIC, TERRIBLE
HUMAN BEING, who takes advantage of his Fame and name to get
People, especially Young Black men to invest in his Company and
give money to him at rates of minimum deposits of $150,000.00
(One hundred-fifty thousand Dollars) in exchange for interest
in his Company, Bad Boy Records) and then rob the Young men,
and then Rape them, and work with other to Cover-up the Crimes
he committed and then walk away scott free, E. Defendant Sean
Combs is a Fake Gangster Hiding behind his Money and His
lawyers and most importantly, his Enforcers, who knows that he
has committed MULTIPLE ACTS OF FRAUD AND IT HAS BEEN AN ONGOING
THING, HIS FRAUD IS ETERNAL AND HIS ENTIRE EMPIRE WAS BUILT ON
RAPE, TORTURE, BEING A FAKE GANSTER, RAPIST, BRUTAL POWER
HUNGRY, GREEDY, MILLIONAIRE, AND QUITE SIMPLY, HE IS NOT A MAN,
A MAN DOES NOT DO THOSE THINGS AND HE IS CERTAINLY NOT A MAN,
HE IS WEAK, A COWARD, A PUNK, SOFT, WEAK, NOTHING, HE IS A
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DECEPTIVE, TERRIBLE HUMAN BEING AND HE RAPED ME, AND DID SO
BECAUSE I WAS “GETTING THE ATTENTION OF THE WOMEN THERE AND I
WAS SATISFYING THEM SEXUALLY AND PAYING ATTENTION TO THEM AND
JUST BEING A GOOD MAN, WHICH IS NOT WHAT HE HAS EVER BEEN, JUST
A MAN TAKING CARE OF THE WOMEN AND HE DID NOT LIKE IT, SO HE
RAPED ME AND BROKE ME AS HE SAID." Fraudster, a Liar, and most
importantly, he is a SERIAL RAPIST OF MEN, WOMEN AND CHILDREN
and DID RAPE ME, THE PLAINTIFF When I trusted him and I was
captivated by his fame and notoriety, and being a HUGE FAN, F.
Defendant Used threats of Murder to Force the Plaintiff to not
Bring the Case to any Court of Law Enforcement, until the Homes
of the Defendant were raided by Homeland Security, that the

Plaintiff knew it was a safe time to bring the case, and that

is now why we are here at this Juncture, and Plaintiff answers
in the Following Brief in Support to the Defendants Motion to

Dismiss.

Thank you for your time in this Matter.
11-25-24

Mr. Derrick Lee Cardello-Smith
Pro Se Plaintiff

#267009

E-C. Brooks Correctional Facility
2500 S. Sheridan Drive

Muskegon, MI 49444
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ARGUMENTS: Plaintiff entirely REJECTS the Defendants Motion

to Dismiss and Plaintiff entire denies the claims presented by

lawyers who are only out to Make Money and Aid their client in
Committing vast rapes and deny Justice to the Plaintiff in a
field where So Many Men and Woman have come out and said that
they were raped and drugged and assaulted by their client Sean
Combs, and to hide behind a ‘Statute of Limitations" which is
Tolled by their Clients Own Actions, is superbly incredible,
unethical, illegal, immoral and just plain wrong and the Law
Offices of Fink Bressack and SherTremont . Erica Wolff are
terrible for aiding with the rape that has taken place upon
this Plaintiff and Other Crimes that the Defendant Sean Combs

has committed upon this Plaintiff is incredible and most

certainly should be worthy of some kind or review for

Disbarment proceedings before the Attorney Discipline Board
and Attorney Grievance Commission here in Michigan and in New
York, because their actions and claims are deplorable and are
ABSOLUTELY ALLOWING THEIR CLIENTS RAPE OF THIS PLAINTIFF TO

TAKE PLACE and the Multiple Other Injuries that their client
has done to be allowed to continue and it is terrible because
they are Hiding Behind their law Licenses to do these
deplorable acts and one can only say that for them to Defend a
Rapist, Thief, Fraud, Manipulator, Extortionist, Sadist, Fake
Ganster such as Sean Combs, and get a paycheck for it and do
it with a Straight Face and then sleep at night, well, it make
them Just as worse as their client and it is
deplorable..... and I REJECT EVERY SINGLE WORD THEY HAVE SAID
AND EVERY STATEMENT THEY HAVE MADE IN THEIR MOTION TO DISMISS
because they are liars and just wrong and misusing the laws to
lie to this court and make help Mr. Sean Combs get away with
his Rape that he committed and that is just terrible on their
parts equally and in fact, it is something that this court
should not allow to happen as that their client raped me and
their client took money from me years ago and hid behind his
lawyers, crew, employees and money for decades, and most

importantly, he had is friends, Employees and ‘Soldiers"

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Threaten to Kill my family, my friends and other if I so much
as PURSUED ANY LEGAL ACTION AGAINST HIM OR HIS EMPIRE and that
is proven by the many affidavits that are on the record, and
Plaintiff now provides this Court with the arguments as to why
the Court Should Deny the Defendants Motion to Dismiss and
allow this matter to proceed to trial.

Plaintiff will make the arguments numerically and in
categories since the Plaintiff is a prisoner who was a
civilian when the Rape Occurred and Stay Silent through Force
and Intimidation for Decades until Homeland Security Raided
the Defendants Homes in March 2024 making it safe for the
Plaintiff to bring the Personal Injury Lawsuit.

ARGUMENTS WHY STATUTE OF LIMITATIONS DO NOT APPLY TO THIS
CLAIM: Plaintiff hereby states that the Following are grounds
as to why the Statute of Limitations Do not apply to this case
and why the Claims are Tolled and Equitably Tolled for this

Claim and Action to Proceed against the Defendant Sean Combs.

1. the Defendants have made an Affirmative Defense, and the
Lapse of a Limitations period is an affirmative defense that a
defendant must plead and prove, and because the defendants
bear the burden of establishing the expiration of the statute
of limitations as such, it must be proven to have run, and the
Plaintiff states that the defendants have failed to prove that
they have run--See Doe Davis v. Jackson United States District

court for the Southern District of new York, case no 15-cv-

5339 decided 9-30-2016) page 5 of 12--(attached).

2. Plaintiff states that the Defendant cannot show that it
has run and therefore, this case must be allowed to proceed,
because their affirmative defense hinges upon NOTHING
INTERFERING WITH OR PREVENTING THE PLAINTIFF FROM FILING THE
PERSONAL-INJURY CLAIM" and that is not the case in this matter
before the Court.
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PLAINTIFFS EQUITABLE TOLLING ARGUMENT--Plaintiff states that
the Equitable Tolling Argument based on the 2 Prongs needed to
establish the 2 Prongs of Equitable Tolling are met by this
plaintiff as follows:

A. FEAR OF RETALIATION AND EXTRAORDINARY CIRCUMSTANCES FOR
PURPOSES OF EQUITABLE TOLLING WHERE PLAINTIFF CAN ALLEGE
SPECIFIC FACTS SHOWING THAT A REASONABLE FEAR OF RETALIATION
PREVENTED PLAINTIFF FROM FILING A TIMELY COMPLAINT, and,

B. PLAINTIFF HAS SHOWN THAT HE EXERCISED REASONABLE
DILIGENCE DURING THE TIME THAT HE FELT THREATENED BY DEFENDANT
AND HIS AGENTS AND OFFICIALS ACTING ON HIS BEHALF.

Plaintiff can and will meet these prongs clearly and with
evidence to allow this Matter to proceed to Trial on the

claims presented within it.

Plaintiff states that he felt Complete Fear of not only being
retaliated against by the Defendant, but also by the
Defendants Associates and Other high ranking Officials Proven
to have been capable of Murder, Torture, Destruction and
Extermination of Anyone if the Plaintiff went through with the
Charges of Anything Criminal or Civil and those factors are--

1. Defendant Sean Combs is capable of Murder.

2. Defendant Can have This Plaintiffs Family Killed.

3. Defendant and his associates are very serious about their
actions.

4. Defendant had Tupac Shakur Killed (Se Police Report of
Officer Patrick Jackman) Attached.

5. Defendant threatened to have the Plaintiffs family
killed--See Attached Agreement between Plaintiff and Defendant
on the Night of the Rape with witnesses.)

6. Defendant combs had his Employees and his Connections in
the MDOC Threaten to kill the Plaintiff if the Plaintiff ever
filed any report--See attached Affidavit of Joseph Ambrose)
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this verifies what life has been like for this Plaintiff on
the inside thanks to the Defendant and his allies...
7. Defendant had a fellow Investor into Bad Boy records in
1997 Threatened to be Killed if ‘the Plaintiff filed any kind
of report or legal action--See (Affidavits of George Preston)
as proof of these actions.
8. Defendant and his Allies, Goons, Bros, soldiers, Fellows
and other members of the People named inside of Joseph
Ambrose' Affidavit confronted this Plaintiff many many times
from 1998 through 2024 threatening this Plaintiff to NOT BRING
ANY REPORT, LAWSUIT OR PERSONAL INJURY CLAIM AGAINST SEAN
COMBS, OR THE PLAINTIFFS FAMILY, FRIEND AND THEIR FAMILY WOULD
BE KILLED--See Attached Affidavits of such.

9. Plaintiff feared States that I believed that my family
and friends would be killed by their client and that their
client would have his people kill my family and friends if he
wanted it to be done and if he wanted them dead so I could not
file any charge until he was Safely watched and When Homeland
Security Stated that they were in Fact Searching his Homes in
March 2024, I knew that it was the safest time table I would
ever be given, and I had many different reasons why I could
not bring the lawsuit and it was to Protect my family and
friends.

10. As a prisoner, I cannot be held to the same Standard of
Tolling and Statutes of Limitations because I AM SITUATED

DIFFERENTLY THEN A REGULAR CIVILIAN AND PERSON and since I am
different from regular plaintiffs filing lawsuits from prison,
I cannot be expected to adhere to the same rules as _ a More

Less Controlled Society.

-11.The Situation of me being a prisoner is already understood
and accepted by the Courts because the Free World Situation is
different where "Nowhere in our society is more forceful and
sustained control over persons exercised then in its
prisons....' Craig Haney...See Walker F. 3d at 564 quoting

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Smaldone, 273 F. 3d at 136--Davis v.Jackson.

Act of Murder, first degree Murder MCL 750.316, second Degree
Murder MCL 750.317, and it prohibits any Aiding or Abetting a
Murder or a Crime 750.450 and MCL 767.39, MCL 767.67, or MCL
750.505 all prohibit any person from committing these types of

12. Michigan Law Prohibits any person with Committing an

crimes, it is very simple--See Attached MCL's which this court
knows from being a Sitting Judge.--If Plaintiff ever acted on
the Lawsuit at any time PRIOR TO HOMELAND SECURITY AND THE
FEDERAL GOVERNMENT RAIDING THE HOMES OF THE DEFENDANT AND
GETTING INVOLVED IN THIS MATTER, THEN THE PLAINTIFF WOULD HAVE
BEEN PARTICIPATING IN, AIDING IN, ALLOWING, CAUSING,
INITIATING, AND RESULTING IN THE DEATH OF HIS FAMILY, FRIENDS,
INVESTORS, THEIR FAMILY AND THE PLAINTIFFS OWN DEATH, and that
is why the Plaintiff feared ever bringing this case before a

Power Force Such as the Federal Government got involved in it

and it was done to PROTECT THE PLAINTIFFS FAMILY, FRIENDS AND

PLAINTIFF HIMSELF, and that itself should toll this matter

completely and it is PROVEN BY THE AFFIDAVITS AND POLICE
REPORTS NOT PROVIDED TO THIS PLAINTIFF UNTIL YEARS LATER...

13. Plaintiff states that on Many different instances,
Inmates that are members of the 'DETROIT DIDDY BOYS", BAD BOY
STREET POSSE" BLUE KNIGHTS (BAD BOYS DETROIT POLICE CONNECTION
MEMBERS) and “DIDDY DEATH DONS" very clearly came to this
Plaintiff between 1998 and 2024 and Threaten the very Life of
the Plaintiff, the Plaintiffs Family and friends over the
years and Stated that ‘PUFF DADDY, P. DIDDY SAID THAT YOU HAD
BEET NOT FILE ANYTHING ABOUT THAT RAPE OF THE MONEY I GOT FROM
YOU, IF YOU DO, I WILL KEEP YOUR FAMILY! I WILL KILL YOUR
FRIENDS" Plaintiff states that his Business Partner and
Friend George Present even stated that over the years, many
men came to him and placed guns to his head and threatened to
kill him many many times if ‘Derrick Lee Cardello-Smith made

or filed any report of lawsuit about him raping me or the

10.
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money we invested in 1997". See the Affidavits of George
Preston.

14. Plaintiff states that the Exceptional circumstance is
met in this case because Plaintiff has Directly sued Sean
Combs and this is a Very Power Man and Plaintiff Sued him from
Prison, which makes it very different and RARE FROM ANY OTHER
LAWSUIT BROUGHT AGAINST DEFENDANT SEAN COMBS, and the
plaintiff states that even if a Plaintiffs claims are
untimely, under the relevant statute of limitations, they may
still be brought if they meet the standards for equitable
tolling, See Zappone 8/0 F.3d at 556, see also Doe v- United
States, 76 F.4th 64.71(2nd Cir. 2023)

Under Federal law...the Accrual of FTCA and Bivens may be
subject to equitable tolling..In General your honor, equitable
tolling is available “When a Litigants failure to meet a
legally mandated deadline unavoidably arose from circumstances
BEYOND THE LITIGANTS CONTROL.'"1d However, equitable tolling is
available only in ‘rare and exceptional Circumstances" Duran
v. Birkett 208 F.3d 213 at 2(6th Circuit 2000). The Plaintiff
bears the heavy Burden of showing he is entitled to equitable
tolling and plaintiff can show that and and has shown that
these matters are collaterally estopped.

This is proven your honor, by the Plaintiff stating that The
Defendant has been operating freely with his power based,
empire, goons, soldiers, employees in and out of law
enforcement, and in and out of prison since the Time when the
Plaintiff first met him in 1997 and then until March 2024, and
plaintiff had no reason to believe that he would ever stop
operating the way that he has been for so long, and never had
a reason to file it timely and as such, the Plaintiff never
could file it because Plaintiff believed that his filing of
the report would have resulted in the deaths of many people
connected to the plaintiff who was and is more then capable of
it, until March 2024 when the Federal Government got Involved

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and that alone makes it a rare and exceptional circumstances,
because the Plaintiff is a prisoner and Plaintiff also knows
that the laws are against this Plaintiff committing any acts
of murder or having someone killed and if Plaintiff had acted
on these events prior to March 2024, Plaintiff would have been
responsible for the Deaths of Other People, Family and Friends
and had no control over this matter until the Homeland
Security Department got Involved in it, and that itself waives
the Statute of Limitations and gives this Plaintiff the

equitable tolling needed as detailed within these arguments.

145. Plaintiff believed his friends and family would be
killed as that they had very first hand knowledge of having
been threatened and Witness George Preston has Attested to

these threats having been made against him over an extensive
period of time from 1998 through 2024 and it is proven and
clearly detailed in the Notarized Affidavits and it must be
taken as true and real and the Requirements of JZappone,
Bivens, Werseh v. city of Detroit, David V. Jackson must be
taken and held as true because they are true and real and
happened, and it must be allowed to told these statutes of
limitations brought by the defendants attorney's who would
rather have allowed the Lives of the Plaintiffs family and
Friends to be taken, then to allow the Timeliness of the
Claims to be brought, and that act alone details their lack of
ethics and disregard for the law and they should be ashamed of
themselves on many levels, but never the less, the Plaintiff
has made the Showing of the First Prong with these factors
listed and must be allowed to have this Matter proceed and the
Equitable Tolling of the Statute of Limitations to be granted
in favor of The Plaintiff because Defendant Sean combs is a
Murderer, Rapist and Thief and should not be allowed to have
this case dismissed when a rare and Exceptional case has been
made to Grant equitable Tolling.

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16. under the “EMERGING DOCTRINE" claim, there is a
provision which finds that 'When a Prisoner fears retaliation
of has a legitimate fear of retaliation for exercising their
rights, EQUITABLE TOLLING MUST BE CONSIDERED~--Bivens Court,
also see Davis V. jackson, no 15-cv-5359 2016--Plaintiff has
shown that there is a CLEARLY EMERGING DOCTRINE that can be

applied to this matter and equitable tolling must be applied

to this case because it fits this case completely..

17. Plaintiff also states that there have been numerous
corrections officers who have threatened the Plaintiff on
behalf of the Defendant Sean Combs, and I Adopt by complete
reference the Names Detailed in the Affidavit of Joseph
Ambrose #185357 as proof (Section d) which lists all the names
of the officers that have threatened the Plaintiff WHILE
ACTING ON BEHALF OF THE DEFENDANT SEAN COMBS..... and as such,
these government officials were paid and influenced by the
defendant Sean Combs and the Fear of retaliation was there and
has always been there and that is why the Lawsuit was Never
filed on the time limit that it should have been filed,
BECAUSE OF FEAR OF RETALIATION by the Defendant and Agents
acting on the defendant Sean Combs Behalf, and this meets the
EXCEPTIONAL CIRCUMSTANCES DOCTRINE.

18. Plaintiff Further States that there was Not a Complete
and Present cause of Action UNTIL THE DEFENDANT WAS RAIDED BY
HOMELAND SECURITY and then and only then did the action become
complete in march 2024 when the plaintiff could feel safe to
file the lawsuit. and the injury committed upon this Plaintiff
by the defendant formed the basis of the lawsuit and claim.
659 Fed. Appx 830 (6th Circuit) 2014 Mich App Led 2183---and
WERSHE V. CITY OF DETROIT--See Attached Case--

19. plaintiff states further that Congress has not stated
that Michigan Statute States that Limit is Jurisdictional and
as such, it is very clearly detailed that in order for the

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issue of Jurisdiction to be dealt with by the Statute of
Limitations, it must be enough to exceed a Federal Law if the
facts are Sufficient and at this time, the defendants have not
raised anything worthy of deeming the Fears of Retaliation and
Requiring the Plaintiff to Commit Crimes as being,
Jurisdictional in their Affirmative Defense, and Congress has
never addressed this issue of a “Prisoner and a Me Music Mogul
Sex Assault for Personal injury--See Boechler P.C. ve
Commissioner of Internal Revenue Service 2022 WL 117/496 U.S.
Decided April 21, 2022 holding that ‘Federal time Limit is
Jurisdictional Only if Congress Says that it is" and as stated
before, congress has not Stated in ‘Michigan Statutes" if the
Limit is Jurisdictional or Not to Exceed Federal Law if the
"Facts are sufficient” and the Défendants have not claims that ~~~

either and their failure to do so, has in fact abandoned this

claim in their Affirmative Defense.

20. Plaintiff states that the Court cannot authorize a
dismissal of these claims because to do so, would mean that
the Plaintiff was time barred because THE PLAINTIFF DID NOT
WANT TO TAKE ANY ACTION THAT GOULD HAVE RESULTED IN THE DEATH
OR DANGER OF HIS FAMILY, FRIENDS OR THEIR FAMILY BY FILING
THIS REPORT UNTIL AFTER HOMELAND SECURITY GOT INVOLVED and if
this Court does Grant Dismissal of this Claim, then it would
be Instructing the Defendants of Any Sexual Assault Claim
brought by a Plaintiff to Simply Threaten to Kill the Victims
Family members and then they would be able to get away with it
and that is most certainly this Court Condoning and
authorizing Murder, or the commission of any crimes that the
Victims would be subjecting themselves of their families to,
especially by the likes of Sean Combs, and that most certainly
4s not what this Court can be allowed to be saying and if this
Court does allow the Defendants Motion to Dismiss to stand,
then, it will be authorizing Victims to Allow their families
to be killed and that cannot be what this court or our justice
system if about, and this Court must allow this Plaintiffs

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Fear of Retaliation, Fear of being murdered, fear of Family
and Friends family being murdered to happen and it is what
would have happened had this Plaintiff filed the action Before
the Homeland Security and Federal government Raided Defendants

Combs Properties back in March 2024.

91. Plaintiff states that i feared for my Family and Friends
Safety and Well-being every single day since 1997 and while in
prison and that fear was only reduced when the Defendants was
watched by Homeland Security and other Federal Agencies and

this was made public.

22, Plaintiff states that the Defendant himself visits this
Defendant multiple times and his agents visited this Plaintiff
many times as proven by the Visitor List provided to this
Court by the Plaintiff and by the defendants themselves and

the Videos will show it....

"Visitor Logs" they submitted show that Plaintiff never was
visited by the Defendant Sean Combs--Well, their document is
clearly a forgery because if the court looks at the "Time in
and Time Out" it will see that They never logged in a time at
all, Showing that it is clearly a forgery and An expert can
attest to that being a forgery because noone is going to come
into a prison and then not be logged in or out, it does not
happen, showing that it is a clear forgery--And these are the
people that have said that my police reports submitted by me
from the Detroit Police Department are forgeries when they
themselves have forged documents completely and then passed
them off as true, Your Honor, Just look at it, and you will

23. Plaintiff states that the defendants will say that the

see yourself...

24. LI feared for my safety and security until Sean Combs
Came under Federal Watching and then I knew I could file this

matter...
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25. Defendant Sean Combs and his Semen and other Bodily
Fluids are in a Rape Kit that is in the possession of the
Michigan Department of Corrections after it has been provided
to this office by the Wayne County Prosecutor Kym Worthy and
it was logged into the facility and the Michigan State Police
have had it too since it was tested in April 2024 and the
identifying of Sean Combs as that person shows that the time
line and cover-up by the Other Government officials in Detroit
aided into the fear of retaliation by Sean Combs and it must
be considered and when it is delivered to this Court it will
clearly show the claims of this Plaintiff are true and that is

why this Prong has been met.

os
26. The Defendant, Sean Combs, His Former Counsel, Benjamin
Brafmin, Bryan Beadle Jr, who one of Defendants Main agents in
Concho, Arizone had himself Spoke to this Plaintiff Visits and
directly told this Plaintiff, that the "Plaintiff had better
not File Any reports to onSean Combs and His raping this
Plaintiff, or the Plaintiff would be killed, and Plaintiff had
no choice except to ensure that he followed these instructions
of the Defendants agents or the Plaintiff would be killed or
Plaintiffs Family would be killed.

27. THE VERY SPECIFIC THREATS MADE AGAINST PLAINTIFF BY
OFFICERS ON BEHALF OF DEFENDANT SEAN COMBS Plaintiff states
that During the Time Periods of 1998 through 2024, MDOC
Officers Nalette, cairnes, Jason Brokc, Sablowski, David
Lalonde, Nick Curley, DanielMiller, Smoker, Caruty, Green,
Clark Sgt. Leone, Robinson, Goostrey, Plichta, Bridgewater,
Brown, Alford, King, Fager, K. Miller, had each at different
times throughout my period of being at Facilities with them
individually had Warned me that “If I said anything about what
Sean Combs had done to me in 1997, that My family would be
Killed and my Friends would be hurt and that they had received
Information about it and had warned me about it, and that they
may or many not be directly involved in anything happening to

me, my friends or our families.'' I have had every single

reason to believe that these threats were credible and that if

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I ever decided to file the charges, then I would be destroyed
and my family would be destroyed.

28. SPECIFIC THREATS AGAINST PLAINTIFF BY DEFENDANT SEAN
COMBS ON AUGUST 28, 2024 --- During a Visit with the
Plaintiff and Defendant Sean Combs On August 28, 2007, He
directly stated to me in the Visiting Room at the Jackon
Cooper Street Facility, in Jackson, MI, The Defendant, and his

Lawyer Benjamin Brafmin, both present, in front of other

witnesses came directly and we discussed my Investment and my
status with bad boy Record Label and I was wanting my money
and I was still shaking and having flash backs of that night

and wanted to hurt Mr. Combs, and I was doing everything to
not get up and run, or get up and hurt him, because I knew
that I would be taken to the Segregation Department, but I
wanted to be able to have him on Camera and Video of him being
there with me, because Video Footage Speaks and Shows that
Truth, so i stayed, and I knew that it would not end well for
me if I did anything to him and it would not end well for my
family if I did say anything, so i stayed there and stayed
quiet and listened, and it was then that~Mr. Combs said the
following to Me.es

"What up Nigga? So, I see you have been getting my messages
and your family has too, that is good and they can keep it
that way by you staying quiet... I am untouchable Nigga!" I
said, "What do you want from me Puffy? He said, I am just
"Checking in on that Ass!" I stayed frozen, at the thought of
this....Then hé said, How is your Sister Tina?" I see she is
working as a Nurse! I said why would you say that? He said
that "He just wanted me to know that she Looks good and that
he would like to "Break her like he Broke Me!'', then I said to
him, What is going on with my money? He said, I got that nigga
and I will give you your end of the deal, just keep your end
of the deal.."' I then said that there is no reason for you to

be here! He said, “Nigga, I can go anywhere I want, [I am

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Brother Love! Then he said that Wanted to know how my brother
was doing since his Beating back in 2000" I said he is
recovering and he will be recovering for a long long time,
because 2 guys messed up his Spine and Hurt him real bad, and
he said, yeah nigga, I know because I sent those 2 guys and
told him that If Your brother Derrick files any complaint
against me in court or with the Police or if they act on it at
any level, federal or state, I will kill your Brother Next
Time" He let me know that he did it! I told him that I will
not file anything in Court, just please do not hurt my
famimly'' He said, alright Nigga, keep in line, and Stay
Broken!--Then he asked me about how My Mother was doing? I

said she is fine he said, yes, she is and if you want her to
stay that way, Stay Quiet about this and do not go to the
State Police, I got cops on my Payroll nigga, I will know if
you do!---Then he got up and left the Visitor Room... This

took place in a 15 minute time span, and it is on Video and

Can be submitted to this Court for Hearing and Verification
and also, the Records will clearly show his Time in and Time
out and his Attorney too. NOT THE FAKE ONES OFFERED BY THE
DEFENDANTS ATTORNEYS OF RECORD AS EVIDENCE." Those were
Clearly Forged and DO NOT HAVE THE TIMES IN AND OUT ON THEM--
They have presented Forged Documents to this Court and the
Lower Courts and passed them off as real and that itself is a
Shame and a Crime on their part because they lied to the Court
but the MDOC's Video Logs will show it and will prove it, if
this Court deems it necessary because the MDOC Keeps that on

their ‘Facility captured Film Footage System for many years
and they have Sean Combs and.I on visits together! All the
Court has to do is ask for it..

29. I have been threatened by Inmates from the "Diddy Death
Dons" and 'Puff Daddy Crew' Directly telling me to NOT FILE
ANY REPORTS OR LAWSUITS AGAINST SEAN COMBS FROM 1998 through
2024 or I would be Hurt and my family would be hurt, and [I
believed them, and they said that THERE ARE MANY WAYS TO HURT

A PRISONER, and they said that You have been in prison long
enough to know and I knew it and I did believe them....I have
been pulled aside and had fights about these types of things
and I have also been forced to have many different
altercations to protect myself from prisoners where as soon as
I found out that they were telling me to not do anything
regarding Diddy and that he sent them and that if I filed a
report with the courts on Diddy, that my Family would be hurt
and they would be killed and that if they can "get to me in
prison" they can get to them out there on BEHALF OF MR. SEAN
COMBS" So I did not file it, and only did it when Homeland
Security had him in custody, so Plaintiff knew that he could
in fact file reports on this matter in 2024 and did so

accordingly because of these inmates that I had fights with
and these fights did in fact lead this Plaintiff to become in

the position of having to remain in the position of not filing
and reports in the Courts because of Sean Combs actions and
activities and his allies in prison, Plaintiff Submits
Misconduct Reports verifying it as true and real and accurate,
and It is what Plaintiff presents to this Court as proof of
the Incident.

30. Plaintiff was given an Assault upon Staff Ticket in 2012
agains William Alford after William Alford Assault that
plaintiff with a Door by slamming it on the Plaintiffs Wrist
and This then the Plaintiff William Alford said, I am going to
have you moved and then he said that you had better not get
Comfortable, because Puff Daddy said that you and y our family
will be hurt-I was then place din segregation and William
Alford had me charged with an assault on Staff ticket, but
that is not what happened--.

31. Plaintiff even had an incident in January 7, 2024 in
which Plaintiff and Another Inmate were fighting and the
prisoners Both Opted to plead guilty and have the Ticket be

written as a Class Jil Lower Level Ticket and it was

19.

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discovered that the Man had came to Cardello-Smith and told
him that he is a Diddy Death Don and Cardello-Smith had better
not say anything about Diddy Raping him in 1997. these words
were heard by this Officer Directly to the Plaintiff and it is
proven by the Misconduct Report Attached.---Plaintiff submits

it as evidence of the harassment he has been subjected to over

the years...and why he remained quiet until Sean Combs was
taken into Custody over the years....

32. Plaintiff was forced to not file a Lawsuit in 2000
because of the fact that a Corrections Officer, had threatened
Plaintiff and told him to not file it, and that he had better
be quiet because Bad Boy will kill his family and that he
better” “not write ‘anymore grievances on this matter.--
Plaintiff filed one against the Officer and it is attached,
his name was and is Officer Mitchell and he was the Unit 5

Block Officer at the Gus Harrison correctional Facility in

Adrian, Michigan..... See attached grievance for. verification.

PLAINTIFFS EFFORTS TO PURSUE MY RIGHTS DILIGENTLY--AS THEUS

SUPREME COURT REQUIRES-- I state that I have pursued my

efforts to exercise my rights diligently to bring these
threats of Defendant Comes Murdering my Family and Friends and
I did so properly and in the best way possible all to no avail

as detailed here in---

1. I filed Multiple Grievances Seeking help and assistance
in this matter for many years and I am providing this Court
with verification of those Grievances dating from 1998 through
2024, and never was able to get anything reasonably done in
this matter and I can provide this Court with more proof if it
is needed in this matter to make sure that his Court has
everything it needs, and I Submit that these grievances were

Laughed at and just simply rejected by the Prison officials in

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Charge in this matter because they were most certainly Not in
my Corner and have hated me for other things I have filed
Against Staff over the years, but the lawsuits I filed Against
Staff did not really start until 2012-2013 and so I had from
1997 through 2012 where I never filed those lawsuits against
Many staff members, because those Staff member NEVER
THREATENED TO KILL MY FAMILY FOR LAWSUITS THAT HAD NOTHING TO
DO WITH DIDDY! If I had filed a lawsuit against Diddy, then
My family and friends could have been murdered and their

friends could have been murdered and those threats are real

and proven, with the attached documents on record. = =~ ~——~<ST«7;7;7;3 7; ]
2. Plaintiff has had many grievances filed throughout his

prison sentence and those were all rejected and even just

smirked upon and some were even assigned Grievance Identifier

Numbers that show they were processed by the Michigan

Department of Corrections and Simply not Even allowed to go

through, and when I asked for Step II Appeal forms, I was just

laughed at on this Matter and the Court record and documents

attached reflect it as such--se attached grievances.

3. I even sent letters to the Michigan State Police About
this Rape that happened, and every time I would sent it out,
they just came back as being ‘Intercepted by staff---and not
processed, and that is proven by the attache documents
verifying it when I sent it to the Michigan state Police.--

See attached---
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4. I have letters from my family members and friends that
have said that if I go through with any lawsuits against
Diddy, that he had his people out here that will hurt and kill
us and that we had better not do anything at all against them
in anyway at all---and That I had better not file any Lawsuit

because they would be hurt and as such, I had no choice except

to comply with what he said and I even let staff know about

this, but they simply did not care, as the grievances show and

__ support....Please View the enclosed letters from my family and

friends and you see that what I am saying is valid and true--

See attached.

5. Plaintiff States that the Defendants have made himself a
part of this Plaintiffs life for many many years and his
threats against this Plaintiffs family and friends are the

reasons why the Plaintiff never ever timely filed anything.

6. Plaintiff states that he has been prevented from ever
being able to file anything and that the defendant and
officials acting on his behalf stopped it from happening and
the defendant used so many other people to cause this
Plaintiff to not file a complaint timely as that Plaintiff
could not file it timely due to the threats of Death to his
Family and Friends lingering over the head of the Plaintiff
ever reporting the Sexual assault of the Plaintiff by the
actions Defendant.

7. Plaintiff states that through the numerous grievances
where I did decide to let them know I was raped, Mr. Bonn
himself said that he knew I was raped and he said that he owul
dnot process it and would stop anything from going to the Step
II of the grievance process and I did seek grievance Appeal
forms but I was scared and given DIRECT ORDERS TO NOT PRESS

22.

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ANY RAPE CHARGES AGAINST DIDDY--See the attached grievances
stating so---

_-8..-Plaintiff could. not have been more diligent with the
efforts to report this and could not have beenmore deterred in
this matter by Staff, Defendant, His Soldiers, His Goons, his
Lackies, his Crew and so many other people acting on Behalf of
the Defendant Sean Combs and as such, this Plaintiff has
clearly shown that Due diligence has in fact been met in more
ways then can be imagined and I have met these burdens of Due
Diligence because I have been THWARTED EVERY STEP OF THE WAY
and I COULD NOT HAVE MY FAMILY KILLED FILING A LAWSUIT BACK
BEFORE SEAN COMBS AND HIS HOMES WERE RAIDED AND MOST

““-——- --—-IMPORTANTEY; ~THOSE- DOGUMENTS- WOULD-HAVE -BEEN -MAD-~-PUBLEG-AND-MY---

FAMILY WOULD HAVE DIED, WHEREAS GRIEVANCES AR NOT PUBLIC,BUT
INTERNAL ADMINISTRATIVE MATTERS....But we see what happened
with that reach that Sean Combs has...

9. Plaintiff states that the Court must recognize the
Plaintiffs Ongoing Situation of being Scared, Threatened, and
Forced to Decide upon the (1) Filing of the Complaint Prior to
Sean Combs having his Homes raided by the Federal governments
Office of Homeland Security for the First time since 1997, (2)
Endangering the Plaintiffs Life, Plaintiffs Family, Plaintiffs
Friends and their family, and having them killed by Filing a
Lawsuit Prior to the raids in March 2024,, (3) not Filing it
and Keeping them all safe and secure and maintaining their
Personal and Bodily Integrity after having been Threatened and
shown that he could kill them and would hurt them from 1997
through the time frame of his Home being raided and eventual
Indictment, and (4) Simply avoiding the threat he posed to my
Family and Friends and allowing it to result in their
deaths... Plaintiff specifically and wisely chose Their safety
and plaintiffs own physical safety, and after so many threats
were made upon the Plaintiffs family and friends, Plaintiff
had no choice except to wait, and did so, and that is even
after taking the chances to write grievances and contact the
police, and to notify staff about this problem,but it was not

done, and most certainly, Plaintiff was placed in segregation

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for his my own protection when I was given the Default
judgement against Sean Combs, but he of course was able to get
it foiled by having his attorneys do their dirt and get it set
back and taken to this honorable Court---

10.My diligence has been very deep and I have done everything
necessary to make sure that I am able to get the matter heard
in an appropriate amount of time and taken the steps to commit
due diligence but that I was prevented by the very person I am
maintaining this action against and it is something I am
asking that this court review and allow under said specific
acts and see that I have been duly diligent in my means to
bring my claims to this court properly and I have been dilgent
and as the court can see from the above cited factors, I have
been diligent and that diligence is met by these verified
actions detailed herein and can be shown and Plaintiff has met
the burden of showing diligence as required by Davis v.
Jackson 751 F. 3d at 719 and that I have made REASONABLE
DILIGENCE NOT MAXIMUM DILIGENCE UNDER HOLLAND 560 US at 649.

THE CONTINUOUS VIOLATIONS DOCTRINE, THE EMERGING DOCTRINE,
THE UNITED STATES SUPREME COURTS HOLDING OF THE 2 FACTORS IN
HOLLAND 560 US at 649 and THE SIXTH CIRCUITS 5 FACTOR TEST FOR
EQUITABLE TOLLING AND PLAINTIFFS MEETS ALL REQUIREMENTS IN
THIS CASE BECAUSE OF THE EXCEPTIONAL CIRCUMSTANCES AT PLAY IN
THIS MATTER SINCE 1997--and they are detailed in the previous
2 Pages detailing the answers and Now again.:

Plaintiff states that the Facts detailed within the first 24
pages detail the facts that this Plaintiff would have been
aiding in the assistance of committing murder if the Plaintiff
had reported these offenses because of the facts detailed
therein and if the Plaintiff had ever taken this matter to the
Court Prior to Sean Combs and his homes being raided then it
would have resulted in the Defendant having his employees and
other people Kill The Plaintiffs Family and friends and their
family and Friends and they have said it themselves that they

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Literally “have had their life, and the families lives
threatened by Sean Combs and other individuals working WITH
and FOR Mr. Sean Combs where Guns were Placed to His head
between 1998 and 2023 if Derrick Lee Cardello-Smith pursued or
mentioned anything about Sean Combs raping Plaintiff in1997 or
the Cash Investment into Bad Boy Records." As such, this man
literally threatened to kill my family and they threatened to

Kill George Preston as his affidavit clearly says they were
going to do and because of that fact alone, I have had to stay

away from ever filing a lawsuit and if I had filed the
lawsuit, it would have resulted in the death of my friend and
co-investor into bad Boy Records and that would have been his
death and the death of his family and for that, lL could not
allow to happen, so I did not file the lawsuit, and that
should be more then enough to overcome the barrier put into
place by the Defendants Statute of Limitations that they have

argued.

This was an ongoing and continuous threat that happened every
single day since 1997 and since I was placed into the Custody
of the Michigan Department of Corrections and it has in fact
resulted in serious emotional distress placed upon me everyday
knowing that I was raped by Sean Combs and that i have had to
live with this everyday and knowing I could not proceed with
any legal action against him due to his threats made towards
myself and my friends and as proven by the Affidavits listed
and cited and attached herein, and as that this has been an
ongoing issue, this court should find that under these
Doctrines, TOLLING MUST BE CONSIDERED AS THE BIVENS COURT HAS
RULED.

Plaintiff states that there is No Rule of Law, Nor Any Act of
Congress,Nor Any Court Case that can be cited to say that WHEN
AN INCARCERATED MAN HAS BEEN RAPED BY A CELEBRITY PRIOR TO
INCARCERATION, AND THAT RAPE VICTIMS FAMILY THREATENED BY THE
CELEBRITY, SUCH A SEAN COMBS WHO IS ALMOST A BILLIONAIRE, AND

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HAVING THE HISTORY OF VIOLENCE, RAPE AND MURDER THAT HE HAS,
AND THAT PRISONER IS REQUIRED TO PROPERLY AND TIMELY FILE HIS
LAWSUIT WITHIN THE STATUTE OF LIMITATIONS, WHEN THE FILING OF
THAT LAWSUIT WILL IN FACT RESULT IN THE IMMEDIATE EXECUTION
AND DEATH OF THE PLAINTIFFS FAMILY, FRIENDS OR OTHERS AND AS
SUCH, SINCE THERE IS NO CASE LAW ON THIS, THE UNITED STATES
SUPREME COURT AND THE SIXTH CIRCUIT COURT OF APPEALS CANNOT
HOLD THIS PLAINTIFFS TO THE STANDARD AND REQUIREMENT OF THE
STATUTE OF LIMITATIONS, BECAUSE IT WOULD HAVE RESULTED IN THE
DEATH OR DEATHS OF THIS PLAINTIFFS FRIENDS AND FAMILY AND
SINCE THERE IS NO CASE LAW FOR THIS KIND OF SITUATION, THIS
MAKES IT AN EXTRAORDINARY AND EXCEPTIONAL CIRCUMSTANCE WHICH
THIS COURT MUST TOLL AND ALLOW THIS CASE TO PROCEED UPON ON
ITS MERITS.

Plaintiff states that this Defendant is is someone that has
been Above the law for decades and is only now in custody and
as the Plaintiff having been in custody since 1997 himself,
understands that there is nothing else that can be done by the
Defendant that can lead to the deaths of the Plaintiffs
friends...however, that is what the Plaintiff thought and then
the plaintiff was seeing on TV that the Defendant was actually
Calling and Reaching out to Witnesses and Threatening them and
attempting to pay them off, this is something that is common
and shows that Mr. Combs could have simply paid off one of the
Soldiers in his Click and his crew and got this Plaintiff
eliminated and removed and even had the Plaintiffs family and
friends removed and as such, it is with great regret that the
Plaintiff was not able to do it sooner, but Plaintiff had no
choice and the defendants actions in his own Federal case show
that he is in fact able to DO WHATEVER IT TAKES TO GET WHAT HE
WANTS AND TO AVOID HIS RESPONSIBILITY---This man is a
dangerous Rapist and he did rape me and he should in fact be
held to account for his actions and not hide behind his money
and statutes that are in fact statutes that will have resulted
-in this plaintiff causing the death of his loved ones and the

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George Preston is willing to testify that as recently as
2023, he was threatened by Sean Combs People and told not to
make sure that this Plaintiff did not act on it, and Plaintiff
complied fully because Sean Combs is capable of making his
needs and actions and wants come to fruition and he was going
to do just that and this Plaintiff had no choice except to
protect his family and friends..

death of other family members...
Plaintiff states that the Statute of Limitations arguments and
claims have been overcome and equitable tolling is allowed
because this is a RARE AND EXCEPTIONAL CASE REQUIRING IT TO BE
TOLLED BECAUSE SEAN COMBS IS IN CUSTODY AND THERE WAS NO SAFER
TIME TO FILE UNTIL THE FEDERAL AGENTS RAIDED HIS HOMES IN
MARCH AND IT SHOULD BE ALLOWED TO PROCEED TO TRIAL....Thank

you your honors.

Plaintiff further maintains that the five Factor test to
determine whether equitable tolling applies to this claim
under Zappone F. 3d at 556 do not apply because the Zappone

court did not and do not provide for a Scenario where a Man
has been raped, the locked up for rape and threatened to be
killed of have his family killed by a Rapist who is an
International Media Figure that has the money, history and
means to execute the Plaintiffs family, and those factors have
been overcome by the Plaintiff as follows:
11. Plaintiff did not know that there was a 3 year time limit
back in 2000 so that removes that theory.
2. Plaintiff lacked the knowledge for this type of
constructive knowledge for this type of lawsuit on the filing
requirement because of the emotional damage and suffering and
heightened fear the plaintiff dealt with in knowing that if
the plaintiff did pursue litigation it would result in the
death of his family and friends, so this is removed because
the plaintiff had to focus on that protection of his family

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and friends for many years and could not go to any other part
or requirement. .

3. Plaintiff has met the Diligence in pursuing his rights.

4. there is no absence of prejudice to this defendant because
he has been a man riding high for many years knowing he has
raped this plaintiff and he has a defense team to battle for
him as they have been willing to show that they can battle him
and have battled him and been successful at every turn for
other reasons, not because of a verdict in his favor after
hearing evidence, but by them pulling violations of rules and
procedures and hiding behind statute of limitations and he has
shown that he can defend himself, so there is no prejudice to
this defendant, who has endless money to do as he wants.

5. The Plaintiffs reasonableness in remaining ignorant of the
particular legal requirement is not applicable because the
Statute and Test did not take into consideration this
Plaintiffs extraordinary circumstances as that Plaintiff is a
prisoner who has been raped by the defendant and has been in
prison since the same year it happened and plaintiff states
that this court itself cannot allow this test to apply as that
it did not consider a Multi millionaire who rapes a man to be

taken into question as part of the test when it was decided.

Plaintiff states that HE SATISFIES THE 2 PRONGS OF THE US
SUPREME COURT TEST and as such, EQUITABLE TOLLING MUST BE
ALLOWED AND THIS CASE MUST BE ALLOWED TO GO FORWARD on the
merits of the case itself....

THE ONGOING VIOLATIONS CHALLENGE AND APPLICATION TO THE
STATUTE OF LIMITATIONS CLAIMS AND DEFENSE RAISED BY THE
DEFENDATS

PLAINTIFF DIRECTLY MAKES A CONSTITUTIONAL CHALLENGE TO THE
STATUTE OF LIMITATIONS REQUIRING THE PLAINTIFF TO HAVE HIS
LAWSUIT FILED WITHIN A CERTAIN AMOUNT OF TIME AND YEARS AS
THAT THERE IS AND HAS BEEN AN ONGOING VIOLATION OF THIS
PLAINTIFFS RIGHTS AND THAT TOLLS THE STATUTE OF LIMITATIONS
AND ALLOWS THIS CASE TO PROCEED ON ITS MERITS

The Defendants have said that there is a 3 year time limit
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for this plaintiff to raise the claim for the Personal Injury
Claim (RAPE AND SEXUAL ASSAULT OF THE PLAINTIFF BY THEIR
CLIENT, DEFENDANT SEAN COMBS) and that he Plaintiff is
"Absolutely outside of the Statute of Limitations." This is
their defense for the grounds raised in their motion to
dismiss.. The Plaintiff disagrees and states that there is
Clear Case law on the Side of this Plaintiff which allows for
Ongoing Violations and Plaintiff states the following factors

as proof of the ongoing violations.

1. Since 1998, the Plaintiff, Plaintiffs family, Friends and
others have been threatened by the Defendant and his allies,
friends and employees that if the Plaintiff filed a Rape
Charge against the Defendant, that the Defendant would Kill
his family.'' This has been an everyday, and yearly thing that
the Plaintiff has had to deal with from 1997 through 2024.

2. defendant committed acts of violence and threats against
this Plaintiff many many times and the Plaintiff family
members and Friends and their family members, as_ their
affidavits support and claim, and it shows that it has been
ongoing.

3. Plaintiff adopts by reference and for the sake of being
repetitive the claims raised in Pages 1-15 as to why the
Threats have been ongoing and why the Plaintiff could not in
fact take action, and this failure on the Plaintiffs part was
completely through the actions of the Defendant and that
itself is more then enough to toll it because there is an
ongoing violation since the Rape of this Plaintiff by the
defendant Sean Combs, tolling the Statute.

4. Simply because the Plaintiff did not challenge the claim
within the 3 years as mandated by law and simply because the
Plaintiff has failed to challenge it within the 3 years since
the time of the violation and act committed upon this
Plaintiff by the defendant does not Immunize the Legal
Challenge of that law and the Legal challenge of the rights

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violation--See Kuhnle Bros. Inc v. City of Geagua, 103 F. 3d
516 (6th Cir. 1997)

5. Plaintiff further states that since the acts of the
Defendant were an everyday act and it affected the Plaintiff
since 1997 throughout the date of his home being raided in
March 2024, that the Plaintiff knew he was being watched and
Plaintiff could act because there were PEOPLE MORE POWERFUL
THAN HIM WORKING AND WATCHING HIM and he was less likely to
commit any acts againstthis Plaintiff and that would be the
main basis for the violations coming to a stop and ALL THE
FACTS BEING PRESENTEDAND COMMITTED IN THIS CASE AND BRINGING
THE PLAINTIFF TO THE POSITION OF BEING ABLE TO HAVE THE
ONGOING VIOLATIONS STOP---See Does v. Whitmer E.D.OF MICHIGAN
case 22-cv-10209 2024

6. The Sixth Circuit views a Constitutional Challenge to a
Statute that is alleged to continue to violate a plaintiffs
rights on an ongoing basis as timely so long as the violation
continues Peoples response to Defendants Motion to Dismiss
(Docket 44) at 65-66 (Citing Kuhle bros Inc v. City of Geauga,
103 F.3d 516(6th Cir. 1997)

See also Does v. Whitmer 2024 U.S. District Lexis 176146
page 48 of 51 Paragraph 2.

7. The Continued Enforcement of the Statute of Limitations

requiring this Plaintiff to file the personal injury Claims

within a Certain amount of time based on that statute has

inflicted a continuing and repeated harm upon this Plaintiff

and therefore a new statute of limitations period commencing

tolling the Statute when the pain ends claims an ongoing
injury that I coul dnot act upon and I could not get help for
as that if I had Taken it to the Courts, Family, Friends would
have been killed and that would have made me accessory and

aiding and abetting murder or other crimes, and that I had to

live everyday with knowing I was raped by the Defendant Sean

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Combs and could not act on it at any level whatsoever and
Plaintiff has had to suffer through many difficult barriers of
keeping this quiet and this Plaintiff states that the
Continued enforcement of a statute has placed and inflicted a
continuing and repeated harm upon this Plaintiff and new claim

and a new injury arises out of this new claim as that the
Ongoing Violation amounts to and is a new injury which is

allowed by a New Statute of Limitations rendering all the old
ones moot by the continued violations and continued injuries
premise... See Jleal v. Azaril No 2;20-sv-185-Z 2020 US
District Lexis 241947, 2020 WL 7672177, at 7(N.D. tex Dec. 23,
2020) (deeming timely a challenge to a federal agency rule
because "these types of suits are seeking prospective relief

for ongoing injuries'' and Statutes of Limitations are simply
inapplicable to such injuries") (emphasis in Original) vacated
and remanded on other grounds Leal v. Becerra No 21-10302,
2022 U.S. App lexis 20803 2022 WL 2981427 (Sth Circuit.July

27, 2022).

8. Plaintiff states that the Claims raised by the Defendants
that Motions to Dismiss based on a Statute of Limitations
being governed by Federal Rule of Civil Procedure 129b)(6) is
correct, and the case law that they provided in Dykema 2015,
and other related cases cited on Pages 9 and 10 are correct,
and they are also however, cases that failed to take into
consideration the Newer Court Cases cited by the Plaintiff
from the United States Court of Appeals for the Sixth Circuit
and the US District Courts as detailed in $1-7 in this section
of arguments before this number 8, and these cases are in fact
BINDING and MUST BE THE CASES TO USE AND APPLY TO THIS RULE
that the Defendants have mentioned, specifically where the
case of Leal v. Azaril and Leal v. Becerra are newer cases
directly related to the Challenging of a rule in an ONGOING
VIOLATIONS ACT AND CHALLENGE TO THE RULE and as _ such, the
Plaintiff hereby invokes Timely this challenge to the Federal

Rule of Procedure that the Defendants are using as their basis

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for the Motion to Dismiss and its Statute of Limitations
Provision and they have stated on Page 10 that For this reason
alone the court should dismiss the case, but the Defendants
have failed to take into Consideration the ONGOING VIOLATIONS
AND ENFORCEMENT OF RULE 129b)(6) placing on this Plaintiff and
his injuries and how it actually starts the clock on the
statute of limitations all over again, rendering the
Defendants Motion as Not valid and Without Any merit
whatsoever, and their defense and reliance on the cases that
they laid out since 1945 and only going up to 2015 does not
even take into consideration these clearly detailed cases as

has been provided by the Plaintiff in Does v. Whitmer Case

2024 U.S. district Lexis 176146--Attached and as such, they

fail on their defense and they have abandoned any further

ability or action that allows them to be able to be granted
this defense and it should be denied as without merit and the
Plaintiffs claims and issues raised supersede the defendants
case law and claims raised as that this is an Ongoing
violation that has been happening and has happened and it must
be corrected by the Court and allowed to proceed to a Jury
Trial on the merits of the claims presented within this Answer
to the defendants motion to dismiss.

Your Honor, the Defendant is a WORLD CLASS RAPIST WHO
BUILT HIS EMPIRE OFF OF ILLEGAL PROCEEDS, THEFT, FRAUD,
TORTURE, RAPE, SEXUAL DEPRAVITY, KIDNAPPING, MURDER,
SOLICITATION OF MURDER, INTIMIDATION, THREATS, SEXUAL SLAVERY,
AND MANY OTHER THINGS AND HIS LAWYERS ARE HIDING BEHIND
THINGS THAT ARE NOT ROOTED IN TRUTH, WHEREAS, I HAVE PROVIDED
PROOF THAT THEY HAVE OFFERED NO EVIDENCE TO DISPUTE IT AND IF
THEY DID OFFER IT, THEN WE WOULD HAVE A CONTROVERSY AND A
GENUINE DISPUTE WHICH WOULD OUTWEIGH ANY STATUTE OF
LIMITATIONS AND ALLOW THIS MATTER TO PROCEED TO A BENCH OR
JURY TRIAL, ON THEIR FRAUDULENT RAPIST CLIENTS ACTIONS WHERE
HE TOOK EVERYTHING FROM ME, MY MANHOOD AND MY MONEY TOO.

32.
PLAINTIFFS CLAIM SHOULD BE ALLOWED TO PROCEED AS SERVICE HAS

BEEN MADE ON THE DEFENDANT AND DEFENDANTS BUSINESS PARTNER,

INVESTOR AND AGENT HERE IN MICHIGAN MR. GEORGE PRESTON AND

KATHRYN PRESTON AND DEFENDANT SEAN COMBSHAVE ALL ACKNOWLEDGE

SERVICE HAVING BEEN MAD IN THEIR NOTICE OF REMOVAL GIVING THIS

COURT PERSONAL JURISDICTION AND SUBJECT MATTER JURISDICTION

OVER THE DEFENDANT SEAN COMBS AS SERVICE WAS MADE TO DEFENDANT

COMBS AND HIS AGENT(S). AS REQUIRED BY MCR 2.105(A)(2)AND_MCR

2.105 (C)(1)(2)_and_(D)(1)(2)(3)(4)_ON THE AGENT, SECRETARY

AND PARTNER OF DEFENDANT SEAN COMBS

Plaintiff states that the Claims should NOT BE DISMISSED
Under FED. R.. Civ. P. 12(b)(5) because the Summons and
Complaint have been served and this court does have
jurisdiction over that of the Defendant and Service of the
Lawsuit was made upon the Defendant by means of the Proper
Michigan Court Rule where service was made upon the AGENT
ACTING ON BEHALF OF THE DEFENDANT AT HIS MICHIGAN ADDRESS
REQUIRING SERVICE IS MADE APPROPRIATELY, and states the
Following Factors why this Court should allow this Claim to
proceed under the merits and states that the trial court
should in fact consider these many factors herein detailed.

1. On April 11, 2024, Plaintiff sent Notice of the Lawsuit
to Sean Combs Restricted Delivery Addresse and His Agent,
Business Partner and Investor George Preston in Avoca,
Michigan. (See Attached Exhibit)

2. On April 15, 2024, The Defendant Sean Combs and his Agent
George Preston, Business Partner and Investor George Preston
both signed for said delivery of the Notice of the Lawsuit,
(See Restricted Return Receipt attached).

3. On October 24, 2 weeks after the Defendants Lawyers David
Fink Had this case moved to Federal Court, Plaintiff Served a
Copy of the Summons and Complaint and the Same from the Court
above upon the Defendant with the Notice of Removal and the

33.

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Trial Court Summons and Complaint with all attachments by
mailing it to SEAN COMBS And his AGENT, INVESTOR, SECRETARY,
ASSISTANT AND BUSINESS PARTNER IN MICHIGAN KATHRYN PRESTON.
(See Attached Receipt)

4. On November 2, 2024 Plaintiff Served By Certified

Restricted Delivery a Copy of the Summons and Complaint and
the Same from the Trial Court and Documents from the Court

above upon the Defendant with the Notice of Removal and the
Trial Court Summons and Complaint with all attachments by
mailing it to SEAN COMBS And his AGENT, INVESTOR, SECRETARY,
ASSISTANT AND BUSINESS PARTNER IN MICHIGAN KATHRYN PRESTON and
it was signed by Kathryn Preston on November 2, 2024 and it
was accepted for Defendant Combs at the address’ listen
Michigan at both his addresses of 7541 Yale Road, Avoca, MI
48006 and 596 St. James, Marysville, MI 48040 and this service
was done by Mr. combs Directly Having his agents and their
staff accept it as that they are his business partners here in
Michigan and They invested in his property and has handled

business here in Michigan.

5. Mr. Combs has been served in accordance with the Rules of
Court, and, most importantly, this Court will not that the
Defendant has accepted service on the Complaint when they were
GIVEN NOTICE OF THE LAWSUIT AS THEY CLAIMS IN THEIR NOTICE OF
REMOVAL ON SEPTEMBER 9, 2024, see the defendants notice of
removal, they admit themselves, Against the Plaintiff
insistence that they have in fact been provided with the
lawsuit on September 9, 2024 ‘After learning of it Through
News Media Report" therefore, they used that Notice of The
Lawsuit that was Based on a Default Judgment entered Against
their client as their basis to for what they considered to be
aa Timely Notice of Removal when in fact, it was not one, but
this court has disagreed with that claim, and has yet to
decide on the Plaintiffs Motion for Reconsideration on that
issue with similar claims having been raised and made by this
Plaintiff.

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AS that the Defendants have said that They were Made aware
of the Notice, there is nothing that says the Defendants Were
not notified and as such, their arguments in their Motion to
Dismiss on Pages 13-17, the Court can and should accept that
Plaintiffs claims of Service and Notice has been made upon
their Client, the Rapist, Sean Combs, and therefore they
should be denied their motion to dismiss because Plaintiff has
complied fully with Michigan Court Rule 2.105 (C) and (D) and
all subrules as that the Defendant had his agents here in
Michigan and those investors had contracts with him and he
maintained residence in Michigan, As verified by the
Affidavits of George and Kathryn Preston as detailed within
the combined record.

Plaintiff also states that the Postal Service Documents that
the Defendants Attorney are referring to related to the $10.40
cents shows that Plaintiff was locked up and in shackles for
that said hearing and was suffering great emotional distress
whereas in all other trial court appearances, plaintiff was
not shackled and had fair state of mind to articulate the
factors and when Plaintiff was in shackles during the motion
hearing referred to by the Defendants Lawyer, it was clearly a
different state of emotional distress so the Plaintiff made
some serious mistakes and errors in those hearings and it
should be allowed to proceed on the merits as detailed within
this case because the Plaintiff has made service properly and
even the defendants have had this document mailed to them
before and they have chosen to not answer it and instead have
made their own Affirmative defense as to service and it should
not be allowed to proceed and this Plaintiff should be allowed
to proceed to a Jury Trial on the merits of the claims
presented.

THIS COURT IS WITHIN ITS POWER TOE EXERCISE COMPLETE

JURISDICTION OVER THE DEFENDANT BECAUSE SERVICE WAS MADE AND

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IT HAS JURISDICTION OVER SEAN COMBS BECAUSE HIS MICHIGAN
RESIDENTS WERE SERVED AND IT HAS BEEN CONSENTED TO MANY YEARS

AGO BY SEAN COMBS AND THE PERSONS OF GEORGE PRESTON AND

KATHRYN PRESTON WILL VERIFY IT AT ANY HEARING THIS COURT DEEMS

TO HOLD ON THIS MATTER AND THIS CLAIM SHOULD NOT BE DISMISSED.

Plaintiff has argued and shown that service has been made and
the defendants have said that it is not and has not been made
and they cannot dispute the facts on this matter as proven by
the certified mail and restricted delivery receipts prove,

thereby negating any efforts of dismissal.

The defendants have been served and they were served in
Michigan and Michigan Court rules 2.105(C) Partnerships,
Limited Partnerships. which provides "Service of Process on a
partnership or a _ limited partnership may be made by (1)
Serving a summons and copy of the complaint on any general

partner or AGENT for service of process, (2) serving a summons

and copy of the complaint on the person in charge of a
partnership office or business establishment and sending a
summons and a copy of the complaint by REGISTERED MAIL,
Addressed to a general Partner or AGENT FOR SERVICE OF PROCESS

AT HIS OR HER USUAL RESIDENCE OR LAST KNOWN ADDRESS---

Plaintiff states that he has satisfied this Prong by Serving
it on the respective persons of George Preston and Kathryn
Preston, people assigned to get process service and accept
mail for Mr. Combs in Michigan, as their affidavits have shown
Mr. Combs Conducting Business on the Grounds of the 7541 Yale
Road, Avoca, MI 48006 property and His Agents assigned to sign
for him.

Plaintiff further states that he has fully complied with the
elements of MCR 2.105 (D)(1)(2)(3)(4) by (1) Serving a Summons
and Complaint on an RESIDENT AGENT) of the Defendant and
George Preston is a Resident Agent of the Defendant and he

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resides on the Property Co-Owned and Co-Shared by Sean Combs
on his Michigan trips and other related events and (2) Serving
a Summons and Complaint on a director, trustee, OR PERSON IN
CHARGE OF AN OFFICE OR BUSINESS ESTABLISHMENT OF THE
CORPORATION and sending it by registered Mail and Plaintiff
has done just that by sending it to the said Parties and

Person in charge at the address of record.

Plaintiff has fully complied with ALL ELEMENTS OF SAID
MICHIGAN COURT RULE on the MICHIGAN CHAPTER OF SEAN COMBS
BUSINESS LOCATED IN AVOCA, MI 38006 AND HIS AGENT IN
MARYSVILLE, MI 48040 and the defendants cannot be allowed to
have their issues granted by getting it dismissed when the
Plaintiffs has provided evidence supporting it, the court can
see for itself and review the affidavits attached--Thank you

for your consideration of not dismissing this claim.

PLAINTIFF STATES THAT THE COMPLAINT IS NOT SUBJECT TO
DISMISSAL AND ARE NOT IMPLAUSIBLE AND ARE NOT INCONSISTENT AND
ARE IN FACT VERY REAL

Plaintiff was Raped by the Defendant Sean Combs, Plaintiffs
Rape was covered up by Detroit Police and Other Officials
working with Sean Combs and Plaintiff has provided this court
with Proof of the Rape that has taken place and the Ongoing
Cover-up that happened with regards to the Rape of this
Plaintiff by the Defendant Sean Combs and it is something that
is true and real and accurate and did happen, and Plaintiff
stands by this Claim that the Defendant Raped this Plaintiff.

THE DEFENDANTS DENIALS ARE DISPUTED BY THIS PLAINTIFFS
ADMISSION THAT THE DEFENDANTS RAPEDHIM HIM AND CREATE A

CONTROVERSY AND DISPUTED AND THIS IS A GENUINE ISSUE OF

DISPUTE THAT SHOULD BE ALLOWED TO PROCEED TO A JURY TRIAL ON

THE MERITS OF THOSE CLAIMS AND THE DEFENDANTS DENIALS WITHOUT

37.

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ANY WITNESSES OR EVIDENCE TO BACK IT UP ARE NOTHING COMPARED
TO THIS PLAINTIFFS CLAIMS OF BEING RAPED BY THE DEFENDANT AND
THE PROOF AND WITNESSES THAT HAVE BEEN PRESENTED TO THIS COURT
AND IT SHOULD BE ALLOWED TO SURVIVE AY DISMISSAL OF THIS
CLAIM.

The rape took Place in 1997 and it was at a Hotel in Adrian,
Michigan and it was Witnessed by Many People, who have listed
Reports on the Record and Affidavits on the Record, which have
not been disproven in anyway by the defendants or argued by
the defendants, with more then a mere passing statement
expecting this court to overlook all the witnesses and their
statements made on the record.

Plaintiff has shown more then enough to survive the Status
of FDCP 12(b)(6) because the events described herein happened
and are completely real because the Plaintiff has PLEAD MORE
THEN A SHEER POSSIBILITY THAT THESE EVENTS HAPPENED AND THEY
WERE WITNESSED BY PEOPLE WHO ATTENDED THE EVENTS DESCRIBED AND
THEY SAW THE PLAINTIFF GET SEXUALLY ASSAULTED BY THE DEFENDANT
IN A BRUTAL, VIOLENT RAPE, thereby removing the bar for a
Sheer Possibility that the Defendant Acted unlawfully, because
THE DEFENDANT DID ACT UNLAWFULLY and also the Defendant
clearly Had his aids cover it up.

Defendants rely upon the fact that the Plaintiff Accidentally
had the Facility send the Mailroom Send it to the Monroe
County Circuit Court and That is because the Plaintiff, WHILE
STILL LIVING WITH THE RAPE AND THEN FILING A LAWSUIT AGAINST
MY RAPIST AND REMEMBERING WHERE WE MET IN 1997, i accidentally
put Monroe on it, when I was "Thinking about where He and I
had met in 1997 and that is at the Business I was Employed at
named FISHBONES, which is LOCATED ON MONROE AND BRUSH in
DETROIT, MI... That is what I had placed in it, the Street
Monroe, and then I submitted it for filing and it went to the
Monroe Circuit Court, and I even had the facility list it and
when I discovered the accident, I asked them to cancel it, but

that is not what could happen and so they sent it to that

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court, and I never ever moved on it, I only served the One
from Lenawee County because that is where it happened, and the
only thing the defendants can do, is Work on Mistakes made by
me, when THERE CLIENT RAPED ME.... Well, Mistakes Happen and
in support of that, the The Plaintiff provides this Court with
a Document Sent to this Plaintiff by the Michigan Court of
Appeals in Case no 372888 which Shows that The Defendants
Lawyer MR. DAVID FINK HAS IN FACT HIMSELF MAD SOME ERRONEOUS
FILINGS IN THIS CASE BECAUSE HE FILED THE WRONG DOCUMENTS BY
NOT HAVING THEM "BOOKMARKED" and he was ordered to 'REFILE HIS
DOCUMENTS" and as such, he made DEFECTIVE FILINGS, and he was
attempting to get that court to believe that he did something
and it was not true--SEE ATTACHED LETTER DIRECTING MR. FINK TO
CORRECT HIS MASSIVE ERROR THAT HE ACTED ON.. I did not act on

my errors in Monore and for this man to be a seasoned lawyer

making these kinds of mistakes and errors to hold me, a
prisoner accountable, well, it is a thing to Laugh at if it
was not such a serious thing, he is using errors to say that I
have made up a story, and that it is Wholly divorced from
reality, well, his filings was and is detached from reality
and in this case, the Court of Appeals told him so,, but the
difference is that I am a Man Big Enough to Admit my Errors,
and not hide behind it, like he has with his filings in this
court and the court of appeals... he is hiding a brutal rape
and attempting to excuse it by his focusing on typos and
accidental filings in the wrong courts,and that is very
telling because clearly HE HAS NOTHING ELSE TO SHOW THAT HE
CAN DISPROVE MY CLAIMS THAT HIS CLIENT RAPED ME, he has not
presented one witness that says a rape did not occur and I
have presented several that have said it did occur,and that
creates a very disputable fact and a genuine dispute subject
for a Jury Trial.

Simply because the Plaintiff has has causes dismissed for

FAILURE TO STATE A CLAIM DOES NOT MEAN THAT THOSE CLAIMS WERE
NOT TRUE, AND IT DOES NOT MEAN THAT HIS CLIENT DID NOT RAPE

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ME, IN FACT, IT VERIFIES THAT HIS CLIENT RAPED ME and he needs
to be stopped from these types of actions and be held

accountable for his actions.

MR. COMBS AND HIGH RANKING GOVERNMENT OFFICIALS IN FACT DID

BECOME INVOLVED IN NOT ONLY THE ACCEPTANCE OF $150,000.00 IN

EXCHANGE FOR % HIS EMPIRE.

Plaintiff has provided this Court with proof of said
agreements between the Plaintiff and Sean Combs and Plaintiff
has even provided this Court with Affidavits from George
Preston attesting to the fact that the Plaintiff has provided
him with money and the amount being $150,000.00 in 1997 and in
exchange for it, he agreed to not get involved in any type of
State of Federal Crimes, and not rape anyone, and what has he
done? He violated it and thereby, entitling the Plaintiff to
the equivalent of 49% of his Entire Empire as agreed upon and
done so by the Agreement that has been placed before the
Lenawee County Circuit Court and Transferred to the District
Court on the record, and transferred and filed by the
Defendants Themselves, see entire court record and the
documents filed by the Plaintiff as proof, and as such, IT
MAKES SENSE TO THE PLAINTIFF AND THE DEFENDANT EVEN IF IT DOES
NOT MAKE SENSE TO DAVID FINK, It does not make since, because
HE WAS NOT THERE WHEN IT WAS AGREED UPON, that is why it makes
no sense to him or his staff....

THIS ALSO CREATES A DISPUTE AND A GENUINE ISSUE OF DISPUTED

FACTS AND MATERIAL AND CONTROVERSY AND IT SHOULD BE ALLOWED TO

PROCEED TO TRIAL.

PLAINTIFF ENTERED INTO A AGREEMENT WITH KYM WORTHY WHO WAS

THEN A RECORDERS COURT JUDGE AND A CIVILIAN AND I ENTERED INTO

IT WITH HER, THE CIVILIAN and IT WAS BECAUSE I WAS FORCED TO

ENTER INTO IT, AS WELL AS OTHER GOVERNMENT OFFICIALS AND IT

WAS SIGNED BY THOSE OFFICIALS AND IT WAS THAT I WOULD BE

PROSECUTED ON FALSE RAPE CHARGES AND THEN MY FAMILY WOULD

40.
LIVE.

This is a clear and open agreement signed and proof of said
agreements have been provided and proof of what was in the
agreement was provided to, and my family has been clearly

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threatened by the Defendant and Other actors in Detroit, and
remember, this is during the time when there were Multiple
Detroit Police Officers being arrested and having been
arrested by the Federal government for these types of behavior
over the Time frame of 1998 through 2005, so it is very
feasible that these events happened---Threats of KILLING MY
FAMILY IS VERY CLEARLY EXPLAINED, WHEN IT IS WRITTEN DOWN AND
WHEN IT IS SUPPORTED BY DOCUMENTARY EVIDENCE FROM THIS
PLAINTIFF AND KYM WORTHY WHO HAS NOT SAID THAT THESE THINGS

|
DID NOT HAPPEN, NOT IN THIS COURT SHE HAS NOT!

The Statement of How they would be exterminated is not
important, the fact that they WOULD BE EXTERMINATED IS VERY
VERY CLEAR.. In fact, PLAINTIFFS MOTHER RHONDA SMITH DIED ON
AUGUST 18 2011 AN IT IS LISTED IN THE WAYNE COUNTY CORONERS
OFFICE AS MANNER OF DEATH "UNDETERMINED" and it is STILL AN
OPEN CASE FOR HOMICIDE and it is something that this Plaintiff
PLACES DIRECTLY ON THE DEFENDANT SEAN COMBS AND HIS
CONNECTIONS....

MR. COMBS HAD MY MOTHER KILLED AND IT WAS OUT OF REVENGE FOR
MY EVEN THINKING ABOUT IT BACK IN THE DAY, AND SHE DIED AS A
RESULT OF HIM HAVING HER KILLED.

SEAN COMBS HA MY MOTHER, RHONOA SMITH KILLED, IT IS LISTED IN
THE WAYNE COUNTY MEDICAL EXAMINERS OFFICE AND IT IS A REPORT
THAT HAS BEEN KEPT AND HELD BY KYM WORTHY'S OFFICE SINCE HER
DEATH AND SHE HAS REFUSED TO PROSECUTE SEAN COMBS ON THIS
MATTER BECAUSE IT WOULD IMPLICATE NOT JUST HIM, BUT HERSELF
AND OTHER PEOPLE, JUST LOOK AT IT AND YOU WILL SEE RHONDA
SMITH BORN APRIL 7, 1949 and DIED AUGUST 18, 2011 AND KYM
WORTHY, THE WAYNE COUNTY PROSECUTOR HAS DECIDED TO NOT ACT ON
IT AND NOT BRING CHARGES AGAINST SEAN COMBS IN THIS CASE AFTER

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THE DETROIT POLICE HAD REQUESTED A WARRANT FOR HIS ARREST IN
22011 AND TO THIS DAY, SHE HAS NOT ACTED ON IT, IN FACT, SHE
HAS EVEN WENT SO FAR AS TO DESTROY ALL HOMICIDE FILES ALL SO
SHE CAN HIDE THESE CRIMES AND FAILURES ON HER OFFICE TO ACT--
SEE THE DETROIT METRO TIMES SEPTEMBER 2024 '"'KYM WORTHY
DESTROYS FILES, all because she wants to protect Sean Combs.
This woman is a terrible human being and my proof has been

provided and this court has it and can act on it by allowing
these matters to proceed to a Jury Trial and plaintiff will in
fact prove all these matters as true if allowed to proceed to
a Jury trial.

It is interesting to note that at no time, out of all the
filings, words, and statements made by the Defendants
Attorney, David Fink, there is one thing missing form the
entire record NOONE FROM THE DETROIT POLICE DEPARTMENT
THEMSELVES HAS EVER DISPUTED ANYTHING THIS PLAINTIFF HAS FILED
AND PRESENTED. There is a reason for that, It is simple,
Because what the Plaintiff has given in the way of the Detroit
Police Reports, it has ALL BEEN TRUE and REAL AND
INDISPUTABLE, yet, noone on the defendants side can dispute it
and has not disputed it, ESPECIALLY NOT FROM THE DETROIT
POLICE DEPARTMENT, BECAUSE THEY CANNOT DISPROVE IT!

The are Clearly detailed claims and the allegations have
been provided, supported, sustained, and proven by PROOF,
DOCUMENTS, AFFIDAVITS, WITNESS DECLARATIONS AND MANY OTHER
THINGS THAT SHOW THAT HIS MAN RAPED ME, AND RAPED ME HE DID
AND HE COVERED IT UP AND HAVE IN FACT SERVED HIM HIS SUIT AND
THE DEFENDANTS HAVE ACCEPTED IT, AND THEY ARE MORE THEN AWARE
OF WHAT THEIR CLIENT DID and as such, my claims are real, true
and accurate and I should be allowed to proceed on the merits
of this case, because He has been given notice, he is not
prejudiced by it going to trial as that it has been defended
by him, and he can show his defense to the court or the jury

and most importantly, I have been diligent in my pursuit of

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justice in every way I can and I have had to wait for decades
until he was Watched and his Homes were raided in March 2024,
after I have been Threatened and my family threatened, I
finally brought the case to the Lower Court and Ignorance had
nothing to do with it, it was BEING PREVENTED AND THINKING I
WOULD BE RESPONSIBLE FOR MY FAMILIES DEATH IF I DID IN FACT GO
THROUGH WITH IT and So, I had to wait until the main head of
the threats was under federal Investigation and his Homes
raided, and this happened this year and so, I sued him this
year and I should be allowed to go to trial, the defendant has
even mailed me an Stipulated Order of Dismissal himself an
then had me get it notarized, which I did and that is on the
court record and should be accepted by this Court and agreed

upon by this Court as it is listed in this Courts record.

I thank this Court for its time in considering all my claims
and factors argued and I ask this Court to NOT DISMISS THIS
CASE and ALLOW IT TO PROCEED TO JURY TRIAL, and I thank you in

advance for your time and understanding in this whole matter.
RELIEF SOUGHT

Wherefore, Plaintiff prays this court will DENY THE
DEFENDANTS MOTION TO DISMISS, GRANT A JURY TRIAL, or a BENCH
TRIAL and Grant any further relief it deems necessary and
appropriate.

R ctfully Yours,
( bnew 11-26-24
M Derrick Lee Cardello-Smith

#267009

E.C. Brooks Correctional Facility
2500 S. Sheridan Drive

Muskegon, MI 49444

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OFFERS OF PROOF

STEP 1 GRIEVANCES FROM 1998 through 2024
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MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4247 10/94
PRISONER/PAROLEE GRIEVANCE FORM CSI-247A

I 7-64 - 95 Grievance Identifier: IN CiFI- 1413 O| adi Lia

Date Received at Step

2 Be brief and concise in describing your ‘grievance issue; . If’ you have any. questioris' cot
; procedure, tefer, to PD 03. 02. 130 and OP 03. 02. 130 available i in the prison’ ‘Law ‘Libra

ame (print first, last) Number Institution Lock Number [Date of Incident] Today’s Date

epricdl omy | 267009 |UCF |G-'N&| 7-398 | 75-98

What attempt did you make to ees this issue prior to writing this grievance? On what date? oO” 7-77 TS LL
Hf none, explain why. pong we a et Kaptuce q bout Threats “Mae
por My Aife Po Waretes |Kaptiire - )\o ve. salut
caiven 159 Subnet [H! 5S Pe spent an 7-5-9 TO TAR
Orie Unc Coe rinater —

State problem clearly. Use separate grievance form for each issue. Additional pages, using plain paper, may be used.
Four copies of each page and supporting documents must be submitted with this form. The grievance must be ie eS

to the ewe) Ea Soon in (eve, with the time limits of OP 03.02,130. Wy 5 Fe_ and The.
reggee By rr Sener s at~

OFM,
re Fay I bh te uF and Bad A ons /t SRA Ng 1

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(od be 1 lleck ou Decrich Wout (BeleNecl” dnd

Tp es (5 Bac Age Ts
vou ad e Her Keep Sie L-haAdl ah |

Grievant’s Signature —

RESPONSE (Grievant Interviewed? I Yes [Ko {f No, give explanation. If resolved, explain resolution.)

\ 7% a 4 A
\ SO esa’ )Dder [ies

Respondent’s Signature Date Revigwer’s Me A Da
nA LN A" Aq oo . .

Respondent s Name (Print) Working Title R bhrg Ge Kah Wofking Title

Date Retumed to If resolved at Step I, Grievant sign here.

Grievant: Resolution must be described above. Grievant's Signature Date

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PRISONER/PAROLEE GRIEVANCE FORM CSJ-247A
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Grievant: Resolution must be described above. Grievant's Signature Date

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THREATS WITH GUNS TO HIS HEAD
AND HIS LIFE THREATENED BETWEEN 1998 and 2023
IF PLAINTIFF FILE A RAPE CHARGE OF LAWSUIT

Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1373 Filed 12/19/24 Page 49 of 100

AND HIS INVESTMENTS INTO BAD BOY RECORDS LLC
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Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1378 Filed 12/19/24 Page 54 of 100

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a L ‘ Am CHa __, the undersigned Notary Public,
Name of Notary Public)

personally appeared LITE pre chon

Name(s) of Signer(s)

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to be the person(s) whose name(s) is/are subscribed
to the within instrument, and acknowledged to. mie

that he/she/they executed the same for the purposes
therein stated.

WITNESS my hand and official seal.

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U Signature of Notary Public

SARAH L ARMSTRONG
Notary Public - State of Michigan
County of St Clair
My Commission Expires Mar 3, 2029

Acting in the County of uns ( fait ,

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Any Other Required Information
Place Notary Seal/Stamp Above (Printed Name of Notary, Expiration Date, etc.)

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VERIFICATION ON OATH OR AFFIRMATION WITH AFFIANT STATEMENT

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V Name of Signer No. 1

JEANNE M DIXON
Notary Public - State of Michigan

County of St Clair ,
My Commission Expires Aug 26, 2029 me Same of Sane No. 2 (if any)
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Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1382 Filed 12/19/24 Page 58 of 100

AFFIDAVIT OF JOSEPH AMBROSE AS TO THE PLAINTIFF
HAVING BEEN THREATENED SINCE 1998 and 2024
BY OFFICERS AND INMATES ON BEHALF OF
MR. SEAN COMBS
Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1383 Filed 12/19/24 Page 59 of 100

STATE OF MICHIGAN)
ss
COUNTY OF MUSKEGON)

AFFIDAVIT OF JOSEPH AMBROSE #185357

I, Joseph Ambrose, do say that during the time of August,1998
through January, 2024, the following acts and following events

did occur in my entire time of Knowing Mr. Derrick Lee Cardello-
Smith #267009.

1. Different Prisoners in the Prisons we were at and most
importantly, at the Muskegon Correctional Facility such as the
"Puff Daddy Crew", the “BAD BOY STREET POSSE" the "PUFFY BOYS"
the "DIDDY DEATH DONS" the "BLUE KNIGHTS" (Affiliate of the
Detroit Police Departments Motorcyle Crew"-The "DETROIT
DIDDY BOYS" & that these members of these Organizations did in
fact exist and did approach Cardello-Smith in my Presence for
many many different years and different times.

2. Michigan Department of Corrections Employees and Staff
Members during the time of 1999 through February,1, 2024 had
Approached Mr. Cardello-Smith #267009 over the years detailing
very specific threats by the Sean Combs, Also known as PUFF
DADDY and P. DIDDY and even Civilian Employees and Sub-
Contracts of the MDOC, and they did approach Mr. Cardello-Smith
relaying different messages and threats against Mr. Cardello-
Smith.

3. These threats were heard by me, observed by me and witnessed
by me and I say that the following were made against Derrick Lee
Cardello-Smith as detailed herein- :

a. Derrick, Puff Daddy Said that you had ‘better not file a
Lawsuit or Report that Rape at that Hotel".

b. Derrick, you had better not talk about the Shit I Injected
into your neck."

c. Derrick, Sean Combs said that if you press Any kind of
Lawsuit or Action against Me (Sean Combs) then, I will kill you,
Your Family, Your Sisters, Your Brothers, your whole damn family
and your Friends out there in St. Clair County-George Preston
and His Family". You had better not say Shit, and you better
keep Quiet."

d. I observed Officers Nalette, Cairnes, Jason Brock, Sablowsky,
David Lalonde, Nick Curley, Daniel Miller, Amy Lawrence, Officer
Smoker, Officer Sheldon Green, Officer Clark, Officer Sgt. Leon,
Officer Caruty, Officer Morrisson, Officer Plichta, Officer
Robinson, Officer Goostrey, Officer Neimi, Officer Bridgewater,
Officer Brown, Officer Alford, officer King, all came to Mr.
Cardello-Smith while in my presence over the years and time
Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1384 Filed 12/19/24 Page 60 of 100

frames of 1997 through 2023 and specifically told him
(Cardello-Smith) that if he even so much as thought about
making a report or a claim, that he would be killed and his
family and friends and their families would be killed....I
believed these events to be true and I knew it could happen.

e. These Indivisual members of the Gangs Listed above have in
fact and did in fact make these Threats to Cardello-Smith over
these many years and there were fights about it with Cardello-
Smith was engaged in fighting with these people, these
prisoners, these different persons who were and are gang
members with alot of power inside and outside and affiliated
with Bad boy Records and Sean Combs, and they did in fact make
these threats against Cardello-Smith.

f. I also have seen Cardello-Smith make many many efforts to
seek protection from the retaliation and they were all foiled &
Ignored.

g. Mr. Cardello-Smith has spent his entire sentence detailing
me the fears he lived with everyday knowing that if he ever
reported the Sexual Assault upon him by Sean Combs, that he
would be causing the death of his family and friends and it
would be his actions causing their death by Sean Combs and his
associates. This man has lived with this Fear everyday I have
known him and it has resulted in his entire daily life being
destroyed by the fear of knowing that if he reported it or
filed on it Sean Combs would kill his family, friends and
others and he had the means to do it and he would do it.

h. In March, he saw that Sean Combs’ many properties were
raided and searched by Homeland Security, and he knew that this
meant that Sean Combs would be watched by the Federal
Government and that this was his chance to take action and that
Sean would not make a move against Derrick now that the
Homeland Security was on his Tail, he felt relief and literally
cried in my presence and he just shook all over the place at
the thought of knowing that he had some way to get this out
into the public and to get justice now for having been raped.

i. I have also witnessed firsthand the conversations between
many different employees of the MDOC that Derrick and I were at
over the years telling him that he "had better stop filing
grievances on these issues" or "Puff Daddy'' would have him
Hurt, or Killed." Derrick even showed me the many different
grievances that he filed and the responses and how they were
all foiled or how he was pretty much just laughed at....none of
them went through actual full process and they were rejected,
but there were many attempts made by him to get help for this
but he was thwarted every step of the way.

j- I have seen this man deal with this part of his life
throughout the entire time we have known each other and it is a
tragedy that if he had acted on it, he would have been the
reason for his family dying and friends dying, because Sean

Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1385 Filed 12/19/24 Page 61 of 100

Combs has the means in those days to do it, until he was Raided
by Homeland Security.

I will testify to these events and experiences as being true
and real and happening, because they happened and were
experienced and witnessed by me...Just call me to Court and I

will testify and also, provide you with the Proof of it, that I
have had over the years...

DECLARATION AND VERIFICATION

I swear and declare under the Penalty of Perjury that these
events have happened as described within and that the facts of
them are ‘true and real and I experienced these facts,
descriptions and events and witnessed them as that they did
happen, and I will make swear to it in open court because even
though I am a prisoner, I am telling the truth.

ec Si Ae 11-21-24
Mr. Joseph Ambrose #165357

E.C.’Brooks Correctional Facility

2500 S. Sheridan Drive
Muskegon, MI 49444

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Notary Public, State of Michigan

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Sean Lo mbs.

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Marysville) NZ YZ0Y¥O

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Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1388 Filed 12/19/24 Page 64 of 100

LETTER FROM THE CLERK OF THE COURT OF APPEALS
DIRECTING MR. FINK TO CORRECT DEFECTIVE FILINGS SHOWING
EVEN SEASONS LAWYERS MAKE SERIOUS FILING ERRORS
AND SO THE PRISONER PLAINTIFF DID SO IN THE
ACCIDNTAL FILING IN MONROE COUNTY CIRCUIT COURT
Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1389 Filed 12/19/24 Page 65 of 100

Jerome W. Zimmer Sr.
Chief Clerk

Michigan Court of Appeals
Office of the Clerk

Detroit Office

November 15, 2024

David H. Fink
[dfink@finkbressack.com
dfink@finkandassociateslaw.com]

Re: DERRICK LEE CARDELLO-SMITH V SEAN COMBS
Court of Appeals No. 372888

Lower Court No. 24-007362-NO

Document Submitted: Answer to Application

Dear Attorney Fink:

This office has received your papers in the above captioned matter. Your submission is defective because
your exhibits are not bookmarked. Please refile your exhibits with bookmarks added for all sub-exhibits as
required by MCR 7.212(J)(2). The bookmarked exhibits only should be filed under the “Defect Correction” tab
in MiFile.

Unless the above is filed within 14 days of this letter, your papers will be returned to you or stricken.

Sincerely,
Office of the Clerk

CLK/dg
cc: Derrick Lee Cardello-Smith

DETROIT OFFICE TROY OFFICE GRAND RAPIDS OFFICE LANSING OFFICE
CADILLAC PLACE COLUMBIA CENTER STATE OF MICHIGAN OFFICE BUILDING 925 W. OTTAWAST.
3020 W. GRAND BLVD. SUITE 14-300 201 W. BIG BEAVER RD. SUITE 800 350 OTTAWA, N.W. P.O. BOX 30022
DETROIT, MICHIGAN 48202-6020 TROY, MICHIGAN 48084-4127 GRAND RAPIDS, MICHIGAN 49503-2349 LANSING, MICHIGAN 48909-7522
(313) 972-5678 (248) 524-8700 (616) 456-1167 (517) 373-0786

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Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1390 Filed 12/19/24 Page 66 of 100

DETROIT POLICE REPORT HELD FOR 27 YEARS
BY KIM WORTHY AND THEN GIVEN TO PLAINTIFF BY DETROIT
POLICE DEPARTMENT AND IT IS REAL AND NOT FALSE
AS THE DEFENDANTS HAVE SAID WITHOUT
MERIT FROM THE DPD
Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1391 Filed 12/19/24 Page 67 of 100

Case 5:24-cv-12647-JEL-KGA ECF No. 1, PagelD.85 Filed 10/07/24 Page 85 of 570
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Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1392 Filed 12/19/24 Page 68 of 100

VISITOR LIST SHOWING PLAINTIFF WAS VISITED
BY DEFENDANT SEAN COMBS
Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1393 Filed 12/19/24 Page 69 of 100

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VISITORLIST. Cre (Lobefa-Z atten ZorreeHonal Feel tam

MICHIGAN DEPARTMENT OF CORRECTIONS:

Instructions: List below the names of people you would like to have considered for approval to visit you. The list may
include as many immediate family members f.e. parent, grandparent, step-parent, spouse, mother-in-law, father-in-law,
child, stepchild, grandchild, sibling, step-sibling, half-sibling and aunt and uncle (if verification is provided that s/he
served as a surrogate parent) as you have that qualify for a visit and up to 10 non-immediate family members. .

|
In the relationship section list the person's relationship to you, i.e., mother, father, sister, etc. All people who do not
meet the definition of immediate family member will be listed as friends. Your Visitor List cannot include persons who are
Iéss than 18 years of age unless that person is an emancipated minor and can show proof of emancipation or unless the

erson is your child, grandchild, stepchild, sibling, step-sibling or half-sibling.
Person's y 9 P oO CrACE La &

NOTE: You are permitted to add or delete names of immediate family memberg from your Visitor List at any time
however; addition or deletion of non-family members is p mitted: only one time during a six month period.

Submit this list to your RUM once it is completed. CYNE ak force LM) )e sg

Prisoner Number Prisoner Name (Print) Date !

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Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1394 Filed 12/19/24 Page 70 of 100

CLASS II MISCONDUCT FOR ATTEMPTING TO REPORT RAPE
BY DEFENDANT SEAN COMBS UPON PLAINTIFF AND
BEING PUNISHED FOR 5 DAYS TOP LOCK
BY DEPUTY WARDEN DALE BONN
Case 9:24-Cv-12647-JEL-KGA ECF No. 64, PagelD.1395 . Filed 12/19/24 Page 71 of 100

wICHIGAN DEPARTMENT OF CORRECTIONS CSJ-228

MISCONDUCT REPORT 4/24 4835-3228
Prisoner Number: Prisoner Name; Facility Code: | Lock: Violation Date:
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Time and Place of Violation: fhiyte Contraband Removal Record Provided to Prisoner?

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Describe Violation (If Us involved, describe in detail; identify any other employee witnesses): ~ - : /

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COMPLETE THIS SECTION ONLY FOR REVIEW OF CLASS | MISCONDUCT
Status Pending Hearing: L] Bond (_] Segregation [_] Confinement to Cell/Room [] Other
Reason if Non-Bond: [-] Non-Bond List [_] Bond Revoked (must give reason)
Date and Time Given this Status: Who Notified in Housing Unit of Status:
Hearing Investigator Requested? C1] No i Yes Witnesses Requested? [1 No 0 Yes
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Reviewing Officer's Name (Print ) ee Reyes iQ Officer's Signature Review Date and Time
Cor. Le LAS Murer 3-28 -2Y IS/53p hb
| have received a copy of this report. My signature does hot ey s Ly Date F
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[-] Prisoner refused to sign. Copy given to prisoner. ( Lal 3 / 2s 24 ,
- WAIVER OF CLASS II uel ed HEARING: mt Re eB
| understand | have a right to a hearing. | waive my rightto | Prisoner's Signature Date
a hearing and plead guilty to all charges. | also waive my
right to appeal and accept the sanctions imposed.
SANCTIONS IMPOSED (Hearing Investigator enters Peg ene end dates for Class II misconducts)
5 clay) Days Toplock Begins: B “252 Zy¥ “~~ Ends: Lf - Z ~ZY i eee ee ttion (Class II! only)
Days Loss of Privileges Begins: Ends: Restitution (Class II only)
Hours Extra Duty Begins: /~ Ends:
Property Disposition If Applicable: L =.
> “Sf
Employee Accepting Plea and Imposing Sapction (Print) najure Date
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Ci Dues  Alidtet__A BL 05.5 [2
Hearing Investigator's Name (Print) 'T Hearing Investigator’s Signature Date
Barrier to communication: [ ] None [ ] Blind/Low Vision [ ] D/HH [ } Other . See (circle one) CSJ-572C /Case Notes

for required effective communication documentation.
Distribution: Prisoner; Counselor File; Record Office File (Class | and 11); Central Office File (Class |); Hearing Investigator (Class | & Class I!). Respective Regional

Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1396 Filed 12/19/24 Page 72 of 100

LETTER FROM PLAINTIFFS MOTHER
STATING FAMILY HAS BEEN VIOLENTLY ATTACKED
AND THREATENED BY P.DIDDY IF THE
PLAINTIFF FILED A LAWSUIT AGAINST HIM
Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1397 Filed 12/19/24 Page 73 of 100

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Love, Mon.

ps /Fbouw Bn bp

Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1399 Filed 12/19/24 Page 75 of 100

LETTER FROM PLAINTIFFS SISTER ABOUT NOT FILING GRIEVANCES
AND THREATS MADE AGAINST HER BY DIDDY AND HIS CREW
4-Cv-12647-JEL-KGA ECF No. 64, PagelD.1400 Filed 12/19/24 Page 76 of 100

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Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1401 Filed 12/19/24 Page 77 of 100

CASE LAW SUPPORTING EQUITABLE TOLLING
OF THE STATUTE OF LIMITATIONS AND THE PLAINTIFS
CLAIMS OF ONGOING VIOLATIONS AND EMERGING
VIOLATIONS DOCTRINE AND TOLLING OF THREATS OF
FEAR OF MURDER AND RETALIATION
Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1402 Filed 12/19/24

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As of: November 26, 2024 4:52 PM Z

Page 78 of 100

Davis v. Jackson

United States District Court for the Southern District of New York
September 30, 2016, Decided; September 30, 2016, Filed
Case No. 15-CV-5359 (KMK)

Reporter
2016 U.S. Dist. LEXIS 136034 *; 2016 WL 5720811

TIQUAN DAVIS, Plaintiff, -v- CORRECTION OFFICER
ANGELA JACKSON, CORRECTIONS LIEUTENANT
JOHN DOE DONAHUE, CORRECTIONS LIEUTENANT
GEORGE JOHN DOE, CORRECTIONAL SGT. GINAH
SHIBAH, SGT. JANE DOE O'CANA, and C.O.
RAYMOND L. ORTIZ, in their individual and official
capacities, Defendants.

Subsequent History: Motion granted by, in part, Motion
denied by, in part, Without prejudice Davis v. Jackson,
2018 U.S. Dist. LEXIS 3327 (S.D.N.Y., Jan. 8, 2018)

Summary judgment granted by Davis v. Grant, 2019
U.S. Dist. LEXIS 20989 (S.D.N.Y., Feb. 8, 2019)

Core Terms

retaliation, equitable tolling, inmate, marks, quotation,
exhausting, fear of retaliation, tolling, accrued,
administrative remedy, statute of limitations, allegations,
correction officer, plaintiffs claim, grievance, pro se,
prison, extraordinary circumstances, due process claim,
administrative appeal, disciplinary hearing, retaliation
claim, proceedings, motion to dismiss, official capacity,
disciplinary, alteration, deprived, reasonable diligence,
psychological

Counsel: [*1] Tiquan Davis, Plaintiff, Pro se, Ossining,
NY.

For Correction Officer Angela Jackson, Corrections
Lieutenant Donahue, Correctional Sgt. Ginah Shibah,
and C.O. Raymond L. Ortiz, Defendants: Yan Fu, Esq.,
New York State Attorney General, New York, NY.

Judges: KENNETH M. KARAS, UNITED STATES
DISTRICT JUDGE.

Opinion by: KENNETH M. KARAS

Opinion

OPINION & ORDER

KENNETH M. KARAS, District Judge:

Tiquan Davis ("Plaintiff"), proceeding pro se, brings this
Action against Correction Officer Angela Jackson
("Jackson"), Correction Officer Raymond Ortiz ("Ortiz"),
Sergeant Ginah Shibah ("Shibah"), Lieutenant "John
Doe" Donahue ("Donahue"), Lieutenant "John Doe"
George ("George"), and Sergeant "Jane Doe" O'Cana
("O'Cana"), employees of the New York State
Department of Correction and Community Supervision
("DOCCS"), pursuant to 42 U.S.C. § 1983. (Dkt. No. 2.)'
Before the Court is Defendants' Motion to Dismiss or, in
the alternative, Motion for Summary Judgment. (Dkt.
No. 22.) For the reasons explained herein, Defendants’
Motion To Dismiss is granted without prejudice.

|. Backqround

A. Factual Background

The following facts are collected from Plaintiffs
Complaint and are, for purposes of this Motion,
accepted as true.

1. The September 18, 2011 Incident

1A review of the docket reveals that Defendants George and
O'Cana have not been served, nor are they represented by the
New York State Attorney General. (Defs.’ Mem. of Law in
Supp. of [*2] Defs.' Mot. To Dismiss or, in the Alternative, for
Summ. J. ("Defs.' Mem.") 1 1.1 (Dkt. No. 23).) Thus, these
Defendants are not considered movants for purpose of the
Motion.
Page 2 of 12

2016 U.S. Dist. LEXIS 136034, *2

Plaintiff is an inmate at Sing Sing Correctional Facility
("Sing Sing") and also has been an inmate at Southport
Correctional Facility ("Southport"). (See Compl. 1-2 (Dkt.
No. 2).) On September 18, 2011, Correction Officer
Bonner ("Bonner") gave Plaintiff authorization to make
rounds on R&W Company in HBA-block, but, while he
was making "I.L.C. rounds" on R company, Jackson told
Plaintiff to show his hands and, after he did so, to put
his hands on the gate for a pat frisk. (See id. at 9.)3 At
that time, Bonner yelled to Jackson to “leave [Plaintiff]
alone," to which she responded by saying, "tell him to
get the fuck off my company." (/d.) Plaintiff then turned
to leave the company, but Jackson grabbed him by his
sweater, and yelled, "[w)hat's all that you just dropped
on the floor[?]" (/d.) Plaintiff, "in an attempt to stop this
[correction officer] [*3] from grabbing him so roughly,"
grabbed Jackson's hands and told her to stop playing, at
which time Correction Officers Sandiford and Grant
grabbed Plaintiff from behind and took him to the ground
without resistance. (/d.) While Plaintiff was being
handcuffed, Shibah, the area supervisor, came and told
Garcia to take Plaintiff to the shower on Q-Company
and to take him to the hospital for a use of force
examination. (/d.)

While Plaintiff was in the hospital, he met with his I.L.C.
staff advisor, Sergeant Williams ("Williams"), who asked
Plaintiff, "[hJow the hell did you let a chick like Jackson
catch you with weed[?]" [*4] (/d.) Plaintiff at first thought
Williams was kidding, but Williams said he was "dead
serious," and said that Jackson claimed that Plaintiff
came on the company with a handful of loose
marijuana. (/d.) Plaintiff said he never had any
marijuana on him, let alone loose in his hand, and
posited that Jackson set him up because he had
complained to the night block sergeant that Jackson had
been preventing him from doing rounds on the company
a few nights before. (/d. at 9-10.) Photos were taken of

2Because the Complaint comprises both a filled-out § 1983
complaint form and a statement of facts, each with its own
numbering system, the Court's citations refer to the
ECFgenerated page numbers in the upper right-hand corner of
the document.

3The term "I.L.C." likely refers to the Inmate Liaison
Committee program. See Dolan v. Connolly, 794 F.3d_290,
292, 294 (2d Cir. 2015) (discussing the inmate liaison
committee at another correctional facility and indicating that
"the ILC is a group of inmates elected to communicate
grievances to officials" (internal quotation marks omitted)); see
also New York State DOCCS Directive 4002 (July 21, 2015),
hitp:/www.doces.ny.gov/Directives/4002.pdf .

Plaintiff, and he provided a written statement. (/d. at 10.)
Afterwards, he was taken to the disciplinary office to
provide a urine sample, which came back negative for
drug use. (See id.) Plaintiff was then brought to the
HBC-SHU, and, while in the special housing unit (the
"SHU"), he received a misbehavior report written by
Jackson and authorized by Shibah on September 18,
2011 charging him with several rule violations, which he
identifies as "106.10 (direct order), 115.10 (frisk), 100.11
(ass[alult on staff), [and] 113.25 (drug possession).” (/d.)
Thereafter, a tier Ill superintendent's hearing was
conducted by Lieutenant Pinker, at which Plaintiff
objected to the fact that he was denied Shibah and
Correction Officer C. [*5] Benjamin ("Benjamin") as
witnesses, since they were both involved in the
misbehavior report. (/d.) Plaintiff was then found guilty of
all of the charges except the frisk charge. (/d.) Plaintiff
was given a penalty of 24 months in the SHU and 24
months’ loss of all other privileges, including
recommended loss of good time.

2. The October 20, 2011 Incident

On October 20, 2011, while in the SHU, Ortiz came to
Plaintiffs cell and asked, "[a]Jre you ready[?]" (/d.)
Plaintiff responded, “no," and Ortiz then said, "you
wanna play games|,] so now [l]'m gonna play games.”
(Id.) Ortiz then told another correction officer to turn off
the water in Plaintiffs cell, and Ortiz said, “{l]'m gonna
play games this time, let's see you get around this one,"
and “remember that time when you pissed in the
bullpen[?} [Rlemember when you wrote my boy [P]erez
up[?] [Wle ainfJt forget that." (/d.) Ortiz then ordered
Plaintiff to urinate into two separate bottles, one of
which Ortiz placed into his top pocket, and the other of
which was placed in a cup with a lid on it. (/d.) As Ortiz
was leaving, he said, "now [I]'m gonna show you how to
play games." (/d.) Several hours later, Plaintiff received
a misbehavior report written by Ortiz [*6] in which it was
alleged that Plaintiff tested positive for drugs. (/d.)

3. Disciplinary Hearing Proceedings

In connection with Plaintiff's discipline hearing, Plaintiff
was provided with O'Cana to be his "tier assistance."
(Id. at 11.)* Plaintiff asked O'Cana to view the SHU

4The Court surmises that O'Cana was assigned to Plaintiff as
an assistant in his disciplinary proceeding. Cf. N.Y. Comp.
Codes R. & Regs. tit. 7, § 251-4.1 (providing that "[a]n inmate

oe !
Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1403 Filed 12/19/24 Page 79 of 100
Case 5:24-cv-12647-JEL-KGA ECF No. 64, PagelD.1404 Filed 12/19/24 Page 80 of 100

Page 3 of 12

2016 U.S. Dist. LEXIS 136034, *6

video and audio from the HBC 2 gallery from October
20, 2011, for the hours of 11:45 AM to 1:26 PM, and to
report the results back to Plaintiff because Plaintiff
wanted the footage as evidence at his hearing so that
he could "prove everything . . . Ortiz did and said during
the urine collection process." (/d.) Despite Plaintiffs
request, O'Cana never viewed the footage. (/d.)

Subsequently, a tier II! hearing was held, and George—
who, according to Plaintiff, works in the disciplinary
office with Ortiz and who approved Plaintiff's [*7] urine
test-served as hearing officer. (/d.) During the
proceedings, Plaintiff requested, but was denied, access
to certain witnesses and materials, including the SHU
video and audio footage, his urologist, his kidney
specialist, the nurse administrator the mental health
chief unit (who both provided e-mails prior to the
hearing), and the drug-testing manual. (/d.) Plaintiff was
then found guilty and given as punishment 24 months in
the SHU and 24 months' loss of all other privileges,
including recommended loss of good time. (/d.) In
December 2011, Plaintiff was transferred from Sing Sing
to Southport, with a total of 48 months in the SHU and
48 months' loss of all other privileges, including
recommended loss of good time. (/d.)

4. Plaintiffs Appeal and Rehearing

Plaintiff filed an administrative appeal challenging both
proceedings and at least partially succeeded on each.
(See id. at 11-12.) On February 3, 2012, the Director of
Special Housing (the "Director") modified the penalty
imposed for Ortiz's misbehavior report and the hearing
that resulted from it. (/d. at 11.) In so doing, he reduced
the penalty from 24 months’ time in the SHU to 18
months, but kept the remaining penalties in place. (/d.)
Additionally, [*8] on February 7, 2012, the Director
reversed the hearing for the September 18, 2011
incident due to the absence of two witnesses and
ordered a rehearing, which was conducted by Donahue
and concluded on March 7, 2012. (/d.) The rehearing
was conducted at Southport and concluded on March 7,
2012. (id. at 12.) Plaintiff was then found guilty of all four
charges, including the frisk charge, of which he had
earlier been found not guilty. (/d.) Plaintiff was then
given 36 months in the SHU and 36 months' loss of all

shall have the opportunity to pick an employee from an
established list of persons who shall assist the inmate when a
misbehavior report has been issued against the inmate if,"
among other things, "the inmate is charged with drug use as a
result of a urinalysis test").

other privileges, a 12-month increase on both fronts
from his earlier penalty. (See id. 10, 12.)

In response to this heightened penalty, Plaintiff filed an
administrative appeal to the Director on March 17, 2012,
and his SHU time was modified from 36 months back to
24. (Id. at 12.) Plaintiff then filed an unsuccessful Article
78 proceeding challenging both tier Ill hearings. (/d.)
Plaintiff filed an appeal, but it was dismissed because
he could not afford the filing fee. (/d. at 12.) In the end,
Plaintiff served a total of 30 months in the SHU. (/d.; see
also Pl.'s Mem. of Law in Supp. of Pl's Reply ("PI.'s
Opp'n") 3 (Dkt. No. 33) (“After being in solitary
confinement for 910 days|,] [Pllaintiff was transferred
directly back [*9] to Sing Sing....").5

B. Procedural Background

On July 7, 2015, Plaintiff filed his Complaint, (see Dkt.
No. 2), and sought leave to proceed in forma pauperis,
(see Dkt. No. 1), which was granted on July 15, 2015,
(see Dkt. No. 4). On November 24, 2015, Defendants
sought permission to move to dismiss, (see Dkt. No.
19), and, on December 28, 2015, they filed their Motion
and accompanying papers, (see Dkt. Nos. 22-27). After
several extensions, Plaintiff filed his Opposition on June
7, 2016, (see Dkt. No. 33), and, on June 29, 2016,
Defendants submitted their Reply, (see Dkt. No. 37).
Plaintiff submitted a surreply on July 22, 2016. (See Dkt.
No. 41.) Defendants filed their own surreply and
accompanying papers on September 13, 2016. (See
Dkt. Nos. 48-50.)

Ul. Discussion

A. Standard of Review

in order to determine what standard applies to
Defendants’ Motion, the Court must first decide whether
it will, consistent with Defendants’ proposal, (see
generally Mem. of Law in Supp. of Defs.' Mot. To
Dismiss or, in the Alternative, [*10] for Summ. J.
("Defs.' Mem.") (Dkt. No. 23) (presenting Motion as one
brought under Rule 12(b)(6) or Rule 56)), convert the
Motion to one for summary judgment so that the Court

5 Plaintiffs memorandum in support of his reply is included in a
single docket entry along with his “reply motion" and
declaration in support of his reply. (See Dkt. No. 33.)
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can consider additional material beyond that presented
in Plaintiffs submissions. Cf. Fed. R. Civ. P. 12(d) (If,
on a motion under Rule 12(b)(6) . . . , matters outside
the pleadings are presented to and not excluded by the
court, the motion must be treated as one for summary
judgment under Rule 56. All parties must be given a
reasonable opportunity to present all the material that is
pertinent to the motion."). "Federal courts have
complete discretion in determining whether to exclude
material beyond the pleadings or to convert a motion to
dismiss into a motion for summary judgment." Mason
Tenders Dist. Council of Greater N.Y. v. W. Sur. Co.,
No. 15-CV-9600, 2016 U.S. Dist. LEXIS 98759, 2016
WL 4098568, at *3 n.1 (S.D.N.Y. July 28, 2016) (internal
quotation marks omitted). Given that "notice is
‘particularly important’ for a pro se litigant, who must be
‘unequivocal{ly]’ informed ‘of the meaning and
consequences of conversion to summary judgment,”
Parada v. Banco Indus. De Venez., C.A., 753 F.3d 62,
68 (2d Cir. 2014) (quoting Hernandez vy. Coffey, 582
F.3d 303, 307-08 (2d Cir. 2009)), and given the factual
disputes underlying the allegations in this case, the
Court is not persuaded that conversion is appropriate
here.

Turning to the standard under Federal Rule of Civil
Procedure 12(b)(6), "[w]hile a complaint attacked by a
Rule 12(b)(6) motion to dismiss does not need detailed
factual allegations, a plaintiffs obligation [*11] to
provide the grounds of his [or her] entitlement to relief
requires more than labels and conclusions, and a
formulaic recitation of the elements of a cause of action
will not do." Bell Atl. Corp. v. Twombly, 550 U.S. 544,

("Determining whether a complaint states a plausible
claim for relief will . . . be a context-specific task that
requires the reviewing court to draw on its judicial
experience and common sense. But [*12] where the
well-pleaded facts do not permit the court to infer more
than the mere possibility of misconduct, the complaint
has alleged—but it has not 'show[n]'—'that the pleader
is entitled to relief." (second alteration in original)
(citation omitted) (quoting Fed. R. Civ. P. 8fa)(2))); id. at
678-79 ("Rule 8 marks a notable and generous
departure from the hypertechnical, code-pleading
regime of a prior era, but it does not unlock the doors of
discovery for a plaintiff armed with nothing more than
conclusions.").

In addition, “when ruling on a defendant's motion to
dismiss, a judge must accept as true all of the factual
allegations contained in the complaint." Erickson _v.
Pardus, 551 U.S. 89, 94, 127 S. Ct, 2197, 167 L. Ed. 2d
1081 (2007) (per curiam). Further, "[flor the purpose of
resolving [a] motion to dismiss, the [cJourt . . . draw[s] all
reasonable inferences in favor of the plaintiff." Daniel v.
T&M Prot. Res., Inc., 992 F, Supp. 2d 302, 304 n.1
(S.D.N.Y. 2014) (citing Koch v. Christie's Int! PLC, 699
F.3d 141, 145 (2d Cir. 2012)). "In adjudicating a Rule
12(b)(6) motion, a district court must confine its
consideration to facts stated on the face of the
complaint, in documents appended to the complaint or
incorporated in the complaint by reference, and to
matters of which judicial notice may be taken." Leonard
F. v._Isr. Disc. Bank of N.Y., 199 F.3d 99, 107 (2d Cir.
1999) (internal quotation marks omitted); see also
Hendrix v. City of New_York, No. 12-CV-5011, 2013

555, 127_S. Ct. 1955, 167 L. Ed. 2d 929 (2007)

U.S. Dist. LEXIS 179259, 2013 WL_ 6835168, at *2

(alterations and internal quotation marks omitted).
Indeed, Rule 8 of the Federal Rules of Civil Procedure
“demands more than an unadorned, the-defendant-
unlawfully-harmed-me accusation." Ashcroft _v. Iqbal,
556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868
(2009}. "Nor does a complaint suffice if it tenders naked
assertions devoid of further factual enhancement." /d.
(alterations and internal quotation marks omitted).
Instead, a complaint's “[flactual allegations must be
enough to raise a right to relief above the speculative
level." Twombly, 550 U.S. at 555. Although "once a
claim has been stated adequately, it may be supported
by showing any set of facts consistent with the
allegations in the complaint," id. at 563, and a plaintiff
must allege “only enough facts to state a claim to relief
that is plausible on its face," id. at 570, if a plaintiff has
not "nudged [his or her] claims across the fine from
conceivable to plausible, the[}] complaint must be
dismissed," id.; see also igbal, 556 U.S. at 679

(E.D.N.Y. Dec. 20, 2013) (same).

Where, as here, a plaintiff proceeds pro se, the court
must "construe[] [his or her complaint] liberally and
interpret[] [*13] [it] to raise the strongest arguments that
[it] suggest[s]." Sykes v. Bank of Am., 723 F.3d 399, 403
(2d Cir. 2013) (per curiam) (internal quotation marks
omitted); see also Farzan_v. Wells Fargo Bank, N.A.,
No. 12-CV-1217, 2013 U.S. Dist. LEXIS 169743, 2013
WL 6231615, at *12 (S.D.N.Y. Dec. 2, 2013) (same),
affd sub nom. Farzan v. Genesis 10, 619 F. App’x 15
(2d Cir, 2015). In deciding a motion to dismiss a pro se
complaint, it is appropriate to consider certain “materials
outside the complaint to the extent that they are
consistent with the allegations in the complaint,"
Alsaifullah v. Furco, No. 12-CV-2907, 2013 U.S. Dist.
LEXIS 110398, 2013 WL 3972514, at *4 n.3 (S.D.N_Y.
Aug. 2, 2013) (internal quotation marks omitted),
including "documents that a pro se litigant attaches to

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his [or her] opposition papers," Agu v. Rhea, No. 09-CV-

13-CV-4530, 2015 U.S. Dist. LEXIS 2020, 2015 WL

4732, 2010 U.S. Dist. LEXIS 132706, 2010 WL

114179, at *3 (S.D.N.Y. Jan. 8, 2015) (dismissing claims

5186839, at *4 n.6 (E.D.N.Y. Dec. 15, 2010) (italics
omitted); see also Walker v. Schult, 717 F.3d 119, 122
n.1 (2d Cir, 2013) (noting that a court may consider
“factual allegations made by a pro se party in his papers
opposing the motion” (italics omitted)). However, "the
liberal treatment afforded to pro se litigants does not
exempt a pro se party from compliance with relevant
rules of procedural and substantive law." Bell v. Jendell,

against prison officials in their official capacities), appeal
filed, No, 15-2484 (Aug. 6, 2015). Accordingly, all claims
against Defendants in their official capacities are
dismissed on the grounds of Eleventh Amendment
sovereign immunity.

2. Timeliness

980_F. Supp. 2d 555, 559 (S.D.N.Y. 2013) {internal
quotation marks omitted); see also Caidor v. Onondaga
County, 517 F.3d_601, 605 (2d Cir. 2008) ("[P]ro se
litigants generally are required to inform themselves
regarding procedural rules and to comply with them."
(italics and internal quotation marks omitted)).

B. Analysis

1. Sovereign Immunity

Plaintiff has brought claims against Defendants in both
their individual and official capacities. (See Compl. 1.)
Defendants argue that "the Eleventh Amendment bars
Plaintiffs [claims against [*14] Defendants in their
official capacities] and request for monetary damages."
(Defs.' Mem. 7.) The Eleventh Amendment prohibits
suits against a state or its agency in federal court unless
the state consents or there has been a valid abrogation
of its sovereign immunity by an act of Congress. See
Pennhurst State School _& Hosp. v. Halderman, 465
U.S. 89, 100-01, 104 S. Ct. 900, 79 L. Ed. 2d 67 (1984).
Section 1983 does not constitute such an abrogation.
See Quern v. Jordan, 440 U.S. 332, 343, 99 S. Ct.
1139, 59 L. Ed. 2d 358 (1979); Davis v. New York, 316
F.3d 93, 101 (2d Cir. 2002) (affirming dismissal of §
1983 claims for damages against state, department,
prison, and prison officials in their official capacities on
Eleventh Amendment grounds); see also Moreau_v.
Peterson, No. 14-CV-201, 2015 U.S. Dist. LEXIS 91073,
2015 WL 4272024, at *5 (S.D.N.Y. July 13, 2015)
("[The] [dJefendants are employees of DOCCS and, as
such, officials of the State of New York. [The] [p]laintiff's
claims against [the] [d]efendants in their official
capacities are therefore considered to be claims against
the State, and are barred by the Eleventh
Amendment."), appeal filed, No, 15-2534 (Aug. 11,
2015); Leer v. Fisher, No. 13-CV-8529, 2015 U.S. Dist,
LEXIS 11944, 2015 WL 413253, at *6 (S.D.N.Y. Feb, 2.
2015) (dismissing § 1983 claims against prison officials
in their official capacities); Shannon v. Venettozzi, No.

Defendants also argue that Plaintiffs retaliation claims
against Jackson and Ortiz and his due process claims
against [*15] Jackson and Shibah are time-barred.
(See Defs.' Mem. 5-7.) Defendants are correct that, on
the facts pleaded, Plaintiffs claims are untimely. The
claims are therefore dismissed, but without prejudice.

Although "“[t]he lapse of a limitations period is an
affirmative defense that a defendant must plead and
prove," a statute of limitations defense may be "raise[d] .
. . in a pre-answer Rule 12(b)(6) motion if the defense
appears on the face of the complaint." Staehr v. Hartford
Fin. Servs. Grp., Inc., 547 F.3d 406, 425 (2d Cir. 2008);
see also Zhongwei Zhou v. Wu, No. 14-CV-1775, 2015
U.S. Dist. LEXIS 26411, 2015 WL 925962, at *3
(S.D.N.Y. Mar, 3, 2015) (same); Mosdos_ Chofetz
Chaim, Inc. v. RBS Citizens, N.A., 14 F. Supp. 3d 197,
209 (S.D.N.Y. 2014) ("Because the defendants bear the
burden of establishing the expiration of the statute of
limitations as an affirmative defense, a pre-answer
motion to dismiss on this ground may be granted only if
it is clear on the face of the complaint that the statute of
limitations has run." (alteration and internal quotation
marks omitted)).

When a plaintiff brings an action under § 1983, "courts
apply the statute of limitations for personal injury actions
under state law." Hogan v. Fischer, 738 F.3d 509, 517
(2d Cir. 2013); see also Ormiston v. Nelson, 117 F.3d
69, 71 (2d Cir 1997) ("In [§)] 1983 actions, the
applicable limitations period is found in the ‘general or
residual state statute of limitations for personal injury
actions." (alterations omitted) (quoting Qwens v. Okure,
488 U.S. 235, 249-50, 109 S. Ct. 573, 102 L. Ed. 2d 594
(1989))). The statute of limitations for personal injury
actions in New York is three years. See Pearl v. City of
Long Beach, 296 F.3d 76, 79 (2d Cir. 2002); see [*16]
also N.Y_C.P.L.R. § 214(5). "Section 1983 actions filed
in New York are therefore subject to a three-year statute
of limitations." Hogan, 738 F.3d at 517 (citing, inter alia,
Pearl, 296 F.3d at 79); see also Staten v. Village of
Monticello, No. 14-CV-4766, 2015 U.S. Dist. LEXIS

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145401, 2015 WL 6473041, at *5 (S.D.N.Y. Oct. 26,
2015) (same). Federat law determines when a § 1983
cause of action accrues, and the Second Circuit has
ruled that “accrual occurs when the plaintiff knows or
has reason to know of the injury which is the basis of his
action." Pearl, 296 F.3d at 80 (internal quotation marks
omitted); see also MacFarlane v. Ewald, No. _10-CV-
2877, 2016 U.S. Dist. LEXIS 100393, 2016 WL
4076585, at *3 (E.D.N.Y. Aug. 7, 2016) (same); Ranke!
v. Town of Somers, 999 F. Supp. 2d 527, 539 (S.D.N_Y.
2014) (same). Accrual does not wait "until the [plaintiff]
has received judicial verification that the defendants’
acts were wrongful." Veal v. Geraci, 23 F.3d 722, 724
(2d Cir. 1994). Nevertheless, "claims brought by an
inmate under the Prison Litigation Reform Act... 42
U.S.C. § 1997e(a), are entitled to equitable tolling during
the time period the inmate is exhausting his
administrative remedies." Gonzalez v. Hasty, 651 F.3d
318, 319 (2d Cir. 2011). However, such tolling is limited
to the "time period in which the inmate is acfively
exhausting his administrative remedies." Jd. at 322 n.2
(emphasis in original).

a. Has the Statute of Limitations Lapsed?

In order to determine whether Plaintiffs claims are
timely, it is, of course, incumbent upon the Court to
determine when they accrued. Here, as Defendants
rightly note, (see Defs.' Mem. 5-7), Plaintiff alleges two
types of claims, specifically (1) First Amendment
retaliation and (2) [*17] procedural due process.

With respect to the former, the claim accrues once “all
of the elements necessary to state the claim are
present." Smith v. Campbell, 782 F.3d 93, 101 (2d Cir.

2015, Plaintiffs retaliation claims are untimely, absent
any applicable tolling doctrines.

With respect to the due process claims, determining the
accrual date is a difficult enterprise. On the one hand,
some cases posit that "if the length of a plaintiffs
confinement is affected by the result of a disciplinary
hearing, the plaintiffs cause of action does not accrue
until the guilty determination is reversed." Mohamed v.
Powers, No, 14-CV-1389, 2015 U.S. Dist. LEXIS
165322, 2015 WL 8492472, at *3 (ND.N.Y. Dec. 10,
2015) (interna! quotation [*18] marks omitted); see also
McEachin vy. Drefus, No. 06-CV-1489, 2008 U.S. Dist.
LEXIS 18294, 2008 WL 686812, at *2 (N.D.N.Y. Mar.
10, 2008) (noting same (citing Black v. Coughlin, 76
F.3d 72, 75 (2d Cir. 1996))). The logic behind this line of
analysis appears traceable to the Second Circuit's
decision in Black v. Coughlin, which applied the socalled
favorable termination rule from Heck v. Humphrey, 512
U.S. 477, 114 S. Ct. 2364, 129 L. Ed. 2d 383 (1994) to
conclude that a due process claim accrued upon the
date of a_ state court reversal of disciplinary
proceedings. See 76 F.3d 72, 75 (2d Cir, 1996).
However, Black was decided two years before the
Supreme Court again weighed in on the question in
Edwards v. Balisok, 520 U.S. 641, 117 S. Ct. 1584, 137
L. Ed. 2d 906 (1997), in which it applied the Heck rule in
the context of a complaint where the inmate alleged
procedural defects that “would, if established,
necessarily imply the invalidity of the deprivation of his
good-time credits." /d. at 646. However, the import of
Edwards was arguably obscured by a concurrence that
suggested that not all procedural due process violations
in cases bearing upon an inmate's good-time credits
would imply the invalidity of the deprivation, see id. at
649-50 (Ginsburg, J., concurring); see also Bonty v.

2015); see also Albritton v. Morris, No. 13-CV-3708,

Stevenson, No. 09-CV-3838, 2011 U.S. Dist, LEXIS

2016 U.S. Dist. LEXIS 42561, 2016 WL 1267799, at *10

56490, 2011 WL 2112432, at *1 (N.D. Cal. May 24,

(S.D.N.Y_ Mar. 30, 2016) (same); Turner v. Boyle, 116

2011) (distinguishing the plaintiffs case requesting

F. Supp. 3d_58, 83-84 (D. Conn. 20185) ("Under federal
law, a claim for . . . First Amendment retaliation]
accrues at the time that the allegedly wrongful conduct
took place.").

Plaintiffs retaliation claim against Jackson arose on
September 18, 2011, when Jackson wrote the allegedly
false misbehavior report, (see Compl. 9), and thus
needed to be filed by September 18, 2014 in order to be
timely. Plaintiff's retaliation claim against Ortiz arose on
October 20, 2011, when Ortiz charged Plaintiff with
marijuana use, (see id. at 10, 14), and thus needed to
be filed by October 20, 2014 in order to be timely.
Because Plaintiff did not file his Complaint until June 29,

“damages . . . based on the allegation that [the]
[dljefendant denied him the opportunity to present
witnesses at his disciplinary hearing," and noting that
"[the] case [was] not like Edwards, in which the prisoner
there alleged deceit [*19] and bias"). But see Burnell v.
Coughlin, 975 F. Supp. 473, 478 (W.D.N.Y. 1997)
(declining to conclude on the basis of the Edwards
concurrence that "the . . . majority intended to limit its
application only to those procedural errors which are so
egregious as essentially to constitute ‘reversible error
regardless of any other factors").

Added to this analysis, there is case law suggesting that
the time a due process claim accrues depends on when
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the infirm proceedings actually deprived the plaintiff of
liberty. Cf. Victory v. Pataki, 814 F.3d_47, 63 n.14 (2d
Cir. 2016) ("A claim for denial of procedural due process
accrues once an inmate is deprived of his constitutional
procedural rights and is deprived of liberty as a result.").
Other law posits that when an inmate claims to be
aware of due process violations during a disciplinary
proceeding and has challenged the suit in an Article 78
proceeding, his claim accrues no later than the date of
the disciplinary proceeding's disposition. See Baez _v.
Pinker, No. 13-CV-9165, 2015 U.S, Dist. LEXIS 70569,
2015 WL 3457277, at *4 (S.D.N.Y. June 1, 2015) (citing
Baez v. Bezio, 77 A.D.3d 745, 908 N.Y.S.2d 608 (App.

seem instructive for accrual purposes in this context,
they have not, in the time since they were decided,
established a bright-line approach to when due process
claims accrue in prison as one might expect. Cf. Burnell
975 F. Supp. at 478. Shorn of this [*21] reason to
conclude that Plaintiffs hearing accrued upon reversal,
the Court concludes that Plaintiffs due process claim
accrued no later than March 7, 2012, and thus needed
to be filed by March 7, 2015, absent any applicable
tolling doctrines.’

b. Tolling for Exhaustion of Administrative Remedies

Div. 2010)}, appeal filed, No. 15-1932 (June 16, 2015).
The complexity of the case law, perhaps, makes a
compelling argument in favor of legal agnosticism. Cf.
Tafari v. Rock, No. 11-CV-57, 2012 U.S. Dist. LEXIS
57498, 2012 WL_1424725, at_*2 (W.D.N.Y. Apr. 24,
2012) (noting that certain “[cJourts . . . have generally
set the accrual date for procedural Due Process claims
telated to disciplinary hearings either at the date [*20]
of the disciplinary hearing or at the date the prisoner's
final administrative appeal is decided" and collecting
cases (internal quotation marks omitted)); see also
Williams _v. Roberts, No. 11-CV-29, 2011 U.S. Dist.
LEXIS 153917, 2011 U.S. Dist, LEXIS 153917, 2011

As noted, however, Plaintiffs claim will be tolled for the
portion of time during which he was actively exhausting
his administrative remedies. With respect to the two
retaliation claims, those claims were not tolled during
the time Plaintiff was pursuing administrative remedies
because the Complaint indicates only that Plaintiffs
efforts to exhaust[*22] consisted of “filing an
administrative appeal" from the underlying disciplinary
proceedings, (Compl. 4), and such a course of conduct
is an inappropriate means of exhaustion for Plaintiffs
retaliation claims, see, e.g., Toliver v. Fischer, No, 12-
CV-77, 2016 U.S. Dist. LEXIS 37881, 2016 WL

WL_7468636, at *5 (N.D.N.Y. Dec. 15, 2071) ("In this
case, [the] [pllaintiffs [hJearings were held on October
25 and November 14, 2007, and those are the relevant
dates when [the] [pllaintiff was, or should have been,
aware of any Due Process violations that ensued."),
adopted by 2012 U.S. Dist. LEXIS 30468, 2012 WL
760777 (N.D.N.Y. Mar. 7, 2012). But that, of course, is
not an option.

Hard though this question may be, the Court concludes
that the best answer for this case is that Plaintiffs claims
accrued on the last day of the final disciplinary hearing,
as that is when he "ha[d] reason to know of the injury
which is the basis of his action," Pearl, 296 F.3d at 80,
and because, at that point, the "inmate [was] deprived of
his constitutional procedural rights and . . . deprived of
liberty as a result," Victory, 814 F.3d at 63 n.14, in light
of the fact that both proceedings resulted in
"recommended loss of good time" and over a year in the
SHU, (Compl. 11). While Heck and Edwards certainly

6"[\]nmates have a liberty interest in good time credit they
have already eared." Abed _v. Armstrong, 209 F.3d 63, 66-67
(2d Cir. 2000); see also Hill v. Laird, No. 06-CV-126, 2016
U.S. Dist. LEXIS 77272, 2016 WL 3248332, at *10 (E.D.N.Y.
June 13, 2016) (same); Hidalgo v. Hopin, No. 01-CV-57, 2009

3351974, at *2 (N.D.N.Y. Mar. 22, 2016) (dismissing,
inter alia, First Amendment retaliation claim for failure to
exhaust, but not dismissing due process claims relating
to disciplinary proceedings, because they must "be
exhausted by administrative appeals of the sanctions
imposed"), adopted sub nom. Toliver v. Stefinik, 2016
U.S. Dist. LEXIS 77736, 2016 WL 3349316 (N.D.N_Y.
June 15, 2016); Bennett v. Fischer, No. 09-CV-1236,
2010 U.S. Dist. LEXIS 139587, 2010 WL 5525368, at *6
(N.D.N.Y. Aug. 17, 2010) ("To the extent [the] plaintiff
contends that he exhausted his administrative remedies
with respect to his First and Eighth Amendment claims
by pursuing his disciplinary appeal, the argument is
unavailing."), adopted by 2011 U.S. Dist, LEXIS 464,
2011 WL_13826 (N.D.N.Y. Jan. 4, 2011); cf. also Giano
v. Goord, 380 F.3d 670, 678 (2d Cir, 2004) (discussing

U.S. Dist. LEXIS 114875, 2009 WL 4803689, at *8 (W.D.N.Y.
Dec. 9, 2009) (finding protected liberty interest implicated
where the punishment was one year in SHU; one year loss of
commissary, packages, and phone; and one year loss of good
time, but later reduced to nine months).

7Jn their brief, Defendants reach the same conclusions about
the accrual date for the First Amendment retaliation, but they
conclude that the due process claims accrued on March 7,
2012 for the first incident and October 20, 2011 for the
second. (See Defs.' Mem. 5-6.)

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the plaintiffs failure to “exhaust available administrative
remedies before filing suit," where the plaintiff believed
that he had to pursue his retaliation grievance through
disciplinary appeals), abrogated on other grounds by
Ross v. Blake, 136 S. Ct. 1850, 195 L. Ed. 2d 117
(2016}.8 However, the filing of an administrative appeal
from his disciplinary proceedings would likely toll the
statute of limitations with respect to Plaintiffs due
process claims because such an appeals process is the
proper mode of exhaustion. See Henson v. Gagnon, No.
13-CV-590, 2015 U.S. Dist. LEXIS 166313, 2015 WL
9809874, at *9 (N.D.N.Y. Dec. 10, 2015) ("[W]here an
inmate's federal claims [*23] arise directly out of a
disciplinary or administrative segregation hearing, (€.g.,
a claim of denial of procedural due process), he
exhausts his administrative remedies by presenting his
objections in the administrative appeals process, not by
filing a separate grievance instead of or in addition to his
ordinary appeal." (ellipses and internal quotation marks
omitted)), adopted by 2016 U.S. Dist. LEXIS 5224, 2016
WL 204494 (N.D.N.Y. Jan. 15, 2016): see also Khalild v.
Reda, No. 00-CV-7691, 2003 U.S. Dist, LEXIS 884,
2003 WL 42145, at *4 (S.D.N.Y. Jan. 23, 2003) ("When
an inmate challenges the procedure at a disciplinary
hearing that resulted in punishment, he exhausts his
administrative remedies by presenting his objections in
the administrative appeals process, not by filing a
separate grievance instead of or in addition to his
ordinary appeal." (internal quotation marks omitted));
Samuels v. Selsky, No. 01-CV-8235, 2002 U.S. Dist.
LEXIS 17089, 2002 WL 31040370, at *8 (S.D.N.Y. Sept.
12, 2002) ("Disputes stemming from a disciplinary
hearing are properly appealed directly and not through
the Inmate Grievance Program.").

Nevertheless, with respect to Plaintiffs due process
challenge relating to the October 20, 2011 incident,
even if it accrued after the punishment was [*24]
modified on appeal, more than three years elapsed
between that date (February 3, 2012) and the filing of
the Complaint (June 29, 2015). Likewise, Plaintiffs due
process complaint stemming from the September 18,
2011 incident would also be untimely because Plaintiff
does not indicate when his appeal ended, and, hence,
when the tolling ended. This matters because the
burden to establish entitlement to equitable tolling falls
on the plaintiff, see, e.g., Abbas v. Dixon, 480 F.3d 636,

® Because Defendants have not briefed or otherwise argued
the issue, the Court expresses no opinion on whether Plaintiff
has exhausted his administrative remedies with respect to the
retaliation claims.

642 (2d Cir. 2007) ("The plaintiff bears the burden of

showing that the action was brought within a reasonable
period of time after the facts giving rise to the equitable
tolling or equitable estoppel claim have ceased to be
operational.” (internal quotation marks omitted)), and,
without an indication that the plaintiff was actively
exhausting during that time, see Gonzalez, 651 F.3d at
322 n.2, his burden will go unmet.? Therefore, the Court
concludes that tolling during the period of time when
Plaintiff was exhausting his administrative remedies
cannot make his claim timely.

c. Article 78 Proceedings

As noted, Plaintiff also contends that the statute of
limitations for his claims was tolled pending the
resolution of his Article 78 proceedings. (See Pl.'s Opp'n
1-2.) But “a plaintiffs pursuit of a state remedy, such as

®\t bears noting that, here, Defendants have submitted an
affidavit to show when the appeals decision was handed
down. (See Decl. of Donald Venettozzi Ex. D (Dkt. No. 24).)
Because, however, as noted, “a district[*25] court
[adjudicating a Rule 12(b)(6) motion] must confine its
consideration to facts stated on the face of the complaint, in
documents appended to the complaint or incorporated in the
complaint by reference, and to matters of which judicial notice
may be taken," Leonard F., 199 F.3d at 107 (internal quotation
marks omitted), and the Court has already declined to convert
the motion to one for summary judgment, the Court will not
consider this evidence. Here, one wrinkle exists because
Defendants also incorporated this fact into a Local Rule 56.1
Statement in the event that the Court converted the Motion
into one for summary judgment, (see Local 56.1 Statement {J
8), and Plaintiff "admitt[ed]" to it in his apposition, (see PI.'s
Pro Se Reply Mot. {| 2 (Dkt. No. 33)). Although "the mandate
to liberally construe pro se pleadings makes it appropriate to
consider the facts set forth in [a] plaintiff's opposition papers,"
Falso v. Gates Chili Cent. Sch. Dist.. 680 F. Supp. 2d 465, 466
(W.D.N.Y. 2010) (italics omitted), affd, 408 F. App’x 494 (2d
Cir. 2011), that is not to be done without an eye on the policy
underlying that proposition, see Mcintosh v. United States, No.
14-CV-7889, 2016 U.S. Dist. LEXIS 44290, 2016 WL
1274585, at *3 n.5 (S.D.N.Y. Mar. 31, 2016) ("[T]he policy
reasons favoring liberal construction of pro se complaints
permit a court to consider allegations of a pro se plaintiff in
opposition papers on a motion where consistent with the
complaint." (alterations and internal [*26] quotation marks
omitted)). Here, the Court does not think that the policy
favoring liberal construction of pro se submissions requires the
Court to surmise a new fact from Plaintiff's decision to admit to
a fact contained in a document that he did not realize was
procedurally premature.

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an Article 78 proceeding, does not toll the statute of
limitations for filing a claim pursuant to /§] 1983." Abbas,

New_York, No. _14-CV-1492, 2016 U.S. Dist. LEXIS

60744, 2016 WL 2636295, at *5 (N.D.N.Y. May 9, 2016)

480 F.3d at 641. see also Brant v. City of Syracuse, No.
15-CV-1382, 2015 U.S. Dist. LEXIS 164336, 2015 WL

(citing [*28] Smaldone v. Senkowski, 273 F.3d 133, 138
(2d Cir. 2001)). see also Walker, 430 F.3d_at_564

9598888, at *3_n.1 (N.D.N.Y. Dec. 7, 2015) (same),
adopted by 2016 U.S. Dist. LEXIS 587, 2016 WL_67718
(N.D.N.Y. Jan. 5, 2016); Williams v. Roberts, No. 11-
CV-29, 2011 U.S. Dist. LEXIS 153917, 2011 WL
7468636, at *5 n.12 (N.D.N.Y. Dec. 15, 2011), adopted
by 2012 U.S. Dist. LEXIS 30468, 2012 WL_760777
(N.D.N.Y. Mar._7, 2012) ("[T]he filing of an Article 78
petition does not toll the limitations period."). Thus, the
statute of limitations in connection with Plaintiffs claims
were unaffected by his Article 78 proceedings.

d. Equitable Tolling

Finally, Plaintiff contends that he was in “fear of
retaliation by . . . [DJefendants [which] prevented him
from filing his [claims] in a timely fashion," which he
argues “is an extraordinary circumstance which
warrants equitable tolling.” (PI.'s Opp'n 2.)'°

Under federal law, equitable tolling of the statute of
limitations is applied “only in ‘rare and exceptional
circumstances,’ where . . . ‘extraordinary circumstances’
prevented a party from timely performing a required
act." Deraffele v. City of New Rochelle, No. 15-CV-282,
2016 U.S. Dist. LEXIS 43466, 2016 WL_ 1274590, at *11
(S.D.N.Y. Mar, 30, 2016) (alteration in original) (quoting
Walker v. Jastremski_ 430 F.3d 560, 564 (2d Cir. 2005)),
appeal filed, No. 16-2369 (July 7, 2016); see also
Moses v. Westchester Cty. Dep't of Corr., 951 F. Supp.
2d 448, 454 ("[C]ourts in th[e] [Second] Circuit deciding
[§] 1983 claims have applied the federal equitable tolling
standard, which allows tolling where extraordinary
circumstances prevented a party from timely performing
a required act." (internal quotation marks amitted)).
“Equitable tolling is generally not available where the
circumstances that a plaintiff claims prevented him from
timely filing were within the plaintiffs control." Myers _v.

19To be sure, the tolling provision discussed in connection
with [*27] Plaintiffs pursuit of administrative remedies is a
form of equitable tolling. See Gonzalez, 651 F.3d_at 319
("[C]laims brought by an inmate under the Prison Litigation
Reform Act... are entitled to equitable tolling during the time
period the inmate is exhausting his administrative remedies . .
. ."), However, because the analysis, as a practical matter,
unfolds differently in that specialized context than with
Plaintiffs other equitable tolling arguments, the Court breaks
them out separately.

(finding that equitable tolling was not available where
pro se litigant's delay in filing his § 1983 action
appeared to be entirely within his control). Furthermore,
“t]he party asserting that equitable tolling applies must
have ‘acted with reasonable diligence throughout the
period he [sought] to toll." Myers, 2016 U.S. Dist. LEXIS
60744, 2016 WL 2636295, at *5 (quoting Doe v.
Menefee, 391 F.3d 147, 159 (2d Cir. 2004}). "[A] plaintiff
bears the burden of establishing that equitable tolling of
[his] claims is appropriate." /d. However, “[t]lo secure
equitable tolling, it is not enough for a party to show that
he experienced extraordinary circumstances. He must
further demonstrate that those circumstances caused
him to miss the original filing deadline." Harper _v.
Ercole, 648 F.3d 132, 137 (2d Cir, 2011); see also Guo
v._IBM 401(k) Plus Plan, 95 F. Supp. 3d_512, 527
(S.D.N.Y. Mar. 26, 2015} ("[T]o benefit from equitable
tolling, a litigant must allege that extraordinary
circumstances prevented him from acting in a timely
manner." (internal quotation marks omitted)).

Plaintiff alleges that his "fear of retaliation’ is an
extraordinary circumstance which warrants equitable
tolling . . . [which] prevented him from filing his 1983 in a
timely fashion." (PI's Opp'n 2.) As a preliminary matter,
although the Second Circuit has not weighed in on the
issue, the balance of the case law suggests that fear of
retaliation {[*29] is not a valid ground for equitable
tolling. See Pietri v. N.Y.S. Office of Court Admin., 936
F. Supp. 2d 120, 136 _n.14 (E.D.N.Y. 2013) (concluding,
in a Title VIl employment case, that "[flear of retaliation
is not a basis for equitable tolling" and collecting cases);
see also Beckel_ v. Wal-Mart Assocs., Inc., 301_F.3d
621, 624 (7th Cir. 2002) ("Even if there were admissible
evidence that [the defendant] had threatened the
plaintiff with firing her if she sued, this would not make
out a defense of equitable estoppel [to the defendant's
statute of limitations argumentl]."); Carter v. W. Publ'q
Co., 225 F.3d 1258, 1266 (11th Cir 2000) ("[The]
[p]laintiffs' purported fear of retaliation, however, is not a
ground for equitable tolling [in an employment
discrimination case]. Otherwise, the doctrine . . . would
effectively vitiate the statutory time requirement because
an employee could defer filing indefinitely so long as
she had an apprehension about possible retaliation."
(citation omitted)); Krooks v. Haverford Coll., No. 14-CV-
4205, 2015 U.S. Dist. LEXIS 4773, 2015 WL 221082, at
*5 (E.D. Pa. Jan. 14, 2015) (noting that "[iJn the
employment context, ‘purported fear of employer

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retaliation is not a ground for equitable tolling"); Pratt v.
Stop & Shop Supermarket Co., LLC, No. 09-CV-5417,

machination, misrepresentation, or intimidation"); see
also Williams v. Priatno, 829 F.3d 118, 123-24 (2d Cir.

2011 U.S. Dist. LEXIS 12654, 2011 WL 579152, at *4

2016) (same). But this exception is not derived from

(E.D.N.Y. Feb. 9, 2011) (concluding, in a Title VII
employment case, that "fear of retaliation is not grounds
for equitable tolling"). These cases, however, all involve
equitable tolling in the Title VIl employment or the ADA
context. See Beckel, 301 F.3d 621 (Title Vil); Carter,

principles of equitable tolling; it is instead based on the
Prison Litigation Reform Act, 42 U.S.C. § 1997 et seq.,
which requires only exhaustion of "such administrative
remedies as are available," id. § 1997e(a); see also
Ross, 136 S. Ctat 1856-57. Because the Prison

225 F.3d 1258 (Title Vil); Krooks, 2015 U.S. Dist. LEXIS
4773, 2015 WL_221082 (ADA); Pietri, 936 F. Supp. 2d
120 (Title Vil); Pratt, 2011 U.S. Dist. LEXIS 12654, 2011
WL 579152 (Title Vil). And in analyzing the viability of a
threat of retaliation excuse, these courts [*30] noted the
unique statutory structure of Title Vil. See, e.g., Beckel,
301 F.3d at 624 (reasoning that a threat of retaliation
"would be a form of anticipatory retaliation, actionable
as retaliation under Title VII," and concluding that
“[rJather than deterring a reasonable person from suing,
it would increase her incentive to sue by giving her a
second claim, in this case a claim for retaliation on top
of her original claim of sexual harassment"); Carter, 225
F.3d_at 1266 ("Title VII specifically protects employees
against retaliation for filing a discrimination complaint.”);
see also Krooks, 2015 U.S. Dist. LEXIS 4773, 2015 WL
221082, at *5 ("The various courts held that it would
defeat the purpose of Congress's intent to add a statute
of limitation if a [p]laintiff could defer filing so long as he
feared retaliation, particularly where Congress had
already instituted the failsafe mechanism of a retaliation
cause of action."). By contrast, there is no First
Amendment cause of action for anticipatory retaliation,
see Espinal v. Goord, 558 F.3d 119, 128 (2d Cir. 2009)
(noting that one element of a First Amendment
retaliation claim is that "the defendant took adverse
action against the plaintiff"); cf James E. Robertson,
"One of the Dirty Secrets of American Corrections”:
Retaliation, Surplus Power, and Whistleblowing
Inmates, 42_U. Mich. J.L. Reform 611, 614 (2009)
("[WJhen inmates abstain from filing grievances for fear
of [*31] retaliation, they cannot bring the underlying
complaint to federal court... ."), and Plaintiffs claim for
past retaliation is one of the very claims that is under
scrutiny for timeliness. The case law thus does not
answer whether fear of retaliation is a valid basis for
invoking equitable tolling in the context of an inmate's §
1983 suit.

Additionally, in the prison context, it is already settled
that fear of retaliation can excuse an inmate's failure to
exhaust administrative remedies. See Ross, 136_S. Ct.
at 1860 (holding that administrative exhaustion is not
required "when prison administrators thwart inmates
from taking advantage of a grievance process through

Litigation Reform Act does not control the question of
whether threat of retaliation is a valid ground for
equitable tolling, the case law discussing the exhaustion
of administrative remedies is of little help.

Instead, the Court turns [*32] to the underlying
principles of equitable tolling and the realities that
inmates like Plaintiff face in seeking to assert their
rights. The chief impediment for invoking equitable
tolling in this situation is that extraordinary
circumstances will exist only where "the ‘exceptional
circumstances’ giving rise to equitable tolling [were]
‘beyond [the] contro!' of the party who seeks to benefit
from it." Walker, 430 F.3d at_564 (first alteration in
original) (quoting Smaldone, 273 F.3d at 138). The
failure to file a timely complaint out of fear of retaliation
is, at least as a theoretical matter, an impediment that is
within a plaintiffs control. It makes some sense, then, in
the employment context, to exclude fear of retaliation as
a basis for equitable tolling.

But plaintiffs arguing for equitable tolling in the
employment context are situated much differently from
plaintiffs filing lawsuits from prison. "Nowhere in our
society is more forceful and sustained control over
persons exercised than in its prisons .. . ." Craig Haney,
Psychology and the Limits to Prison Pain Confronting
the Coming Crisis in Eighth Amendment Law, 3
Psychol, Pub. Pol'y & L. 499, 499 (1997). Such
sustained control tends to result in “adverse
psychological effects” that invariably have “behavioral
consequences." Jason [*33] J. Ben, America’s Need to
Explore Alternatives to Incarceration: Can America
Purport to Be the "Land of the Free" When It Currently Is
the World's Leading Incarcerator?, 30 S.U. L. Rev. 349,
356 (2003). When these “negative psychological effects
of imprisonment" become “chronic and deeply
internalized," inmates experience:
dependence on the external constraints of
institutional structure and contingencies;
hypervigilance, interpersonal distrust and suspicion
of threat or personal risk; emotional over-control,
alienation and psychological distancing as a
defense against exploitation and awareness of the
riskiness and _ unpredictability of emotional

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investments in relationships; social withdrawal and
isolation; incorporation of exploitative informal rules
and norms of prison culture; diminished sense of
self-worth and personal value; and posttraumatic
stress reactions to the pains of imprisonment.

Zieva Dauber Konvisser, Psychological Consequences
of Wrongful Conviction in Women and the Possibility of
Positive Change, 5 DePaul J. for Soc. Just. 221, 241
(2012) (internal quotation marks omitted).

Retaliation and fear of retaliation are natural
consequences of this unique psychological
environment. And that fear of retaliation [*34] is not
merely speculative or conjectural, as “it is clear that the
level of actual retaliation, as well as the perception of
likely retatiation among . . . inmates . . . constitutes the
single most important and difficult obstacle to inmates’
use of the [grievance] system.” Vincent M. Nathan,
Evaluation of the Inmate Grievance System Ohio, Ohio
Dep't of Rehab. & Corr. 28 (Feb. 13, 2001),
hitps://www.law.umich.edu/facultyhome/margoschlanger
/Documents/Resources/Prison_and Jail Grievance Pol
icies/Ohio Nathan Evaluation Grievance System.pof .
Unlike employees in the Title VIl or ADA context, who
have meaningful access to remedies for retaliation and
anticipated retaliation, “[p]risons invest in correctional
officers rule enforcement powers that readily mask
retaliatory intent," Robertson, supra, at 615-16 (noting
that "the frequent vagueness of disciplinary rules
provides correctional officers ample leeway in deciding
when and where to enforce these rules" (footnote
omitted)), thereby subverting the mechanisms designed
to protect plaintiffs from retaliatory conduct.

Given this unique context and the substantial control
that correction officers exert over inmates, see M.
Jackson Jones, Power, Control, Cigarettes, and Gum:
Whether an Inmate's Consent to Engage in a
Relationship with a Correctional Officer Can Be a
Defense to the Inmate's Allegation of a Civil Rights
Violation [*35] Under the Eighth Amendment, 19
Suffolk J. Trial & App. Advoc. 275, 306 (2014)
(Basically, a correctional officer controls an inmate's life
inside of prison."), the specter of retaliation, a real and
ever-present force in an inmate's life, can reasonably be
said to be outside of an inmate-plaintiffs control. Thus,
the Court concludes that in the prison context,
reasonable fear of retaliation may be sufficient to
constitute extraordinary circumstances warranting
equitable tolling, particularly if the person threatening
retaliation is a defendant or another official who could
be or was influenced by a defendant.

But that is not to say that every inmate is entitled to
equitable tolling merely because he resides in an
environment that intrinsically works to his disadvantage.
After all, “most inmates perceive that they will expose
themselves to retaliation if they use the grievance
system," Nathan, supra, at 25, but certainly not all
inmates are entitled to equitable tolling. Generalized
allegations of fear of retaliation, therefore, are not
sufficient to establish “extraordinary circumstances"
warranting application of equitable tolling. See
Nicoloudakis_v. Bocchini, No. 13-CV-2009, 2016 U.S.
Dist. LEXIS 85764, 2016 WL 3617959, at *3 (D.N.J. July
1, 2016) ("Generalized fear of reprisal is not enough to
warrant equitable tolling . . . ."), appeal filed, No. 16-
3372 (Aug. 15, 2016); [*36] Rosenblum v. Yates, No.
09-CV-3302, 2011 U.S. Dist. LEXIS 14086, 2011 WL
590750, at *3 (E.D. Cal. Feb, 10, 2011) (finding that the
plaintiffs "generalized allegation . [of] fear of
retaliation" was "insufficient to meet his high burden").
Here, however, Plaintiff has not offered merely
generalized assertions of fear of retaliation. Rather,
Plaintiff has alleged specific facts that gave rise to his
fear upon his return to Sing Sing from Southport,
including: (1) that one Defendant told Plaintiff not to "get
comfortable" upon his return to Sing Sing; (2) that a
false misbehavior report was filed against Plaintiff (and
subsequently dismissed) upon his return to Sing Sing;
(3) that one correction officer frisked Plaintiff and told
him, "| hope your [sic] not gonna write me up for this
because | know about you"; and (4) that following a
search of Plaintiffs cell, another correction officer told
Plaintiff not to "be writing a bunch of shit up around
here," and told Plaintiff that "you know weapons can be
found in your cell." (Pl.'s Decl. in Supp. of Pl.’s Reply 1-2
(Dkt. No. 33).) And Plaintiff explains that the reason he
ultimately felt safe in filing the Complaint was that the
superintendent of the facility and the captain of security
assured him he would not be retaliated against. (See id.
at 2-3.) [*37]

Accordingly, because the Court concludes that inmates
may show extraordinary circumstances for purposes of
equitable tolling where they allege specific facts
showing that a reasonable fear of retaliation prevented
them from filing a timely complaint, and because Plaintiff
has alleged such facts, the Court is satisfied that
Plaintiff has met the first prong of the equitable tolling

inquiry.

Less clear, however, is whether Plaintiff has alleged
facts showing that he exercised reasonable diligence
during the time he felt threatened by officers at Sing
Sing. Plaintiff does not explain, for example, when he
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contacted the superintendent seeking protection from
retaliation. (See id.) The timing of that request is
relevant because the Court would be hard pressed to
conclude that Plaintiff exercised reasonable diligence in
pursuing his rights if, for the entire time Plaintiff alleges
he faced a threat of retaliation, he did nothing to seek
protection from that threat of retaliation. And, assuming
Plaintiff promptly sought the support of the
superintendent, the Court needs to know when that
support was given so that the Court can determine
when the tolling of Plaintiffs claims started and
stopped. [*38] The timing is especially sensitive here,
as Plaintiffs claims, if untimely, are untimely by less
than a year. (See Defs.. Mem. 5-7.) There are,
accordingly, insufficient facts for the Court to conclude
that Plaintiff acted with reasonable diligence during the
time he was facing a threat of retaliation. At this
juncture, the Court cannot say that equitable tolling is
warranted in Plaintiffs case.

However, given Plaintiffs pro se status and the Court's
obligation to liberally construe pro se pleadings, the
Court is hesitant to dismiss Plaintiff's claims at this point
without providing Plaintiff an opportunity to amend his
complaint at least once. See Owens v. N.Y.C. Dep't of
Sanitation, No. _11-CV-8297, 2013 U.S. Dist. LEXIS
7294, 2013 WL 150245, at *3 (S.D.N.Y. Jan. 15, 2013)
(noting that, in general, “a court should grant leave to
amend [to a pro se litigant] at least once before
dismissing [a complaint] with prejudice" (internal
quotation marks omitted)); Horace v. Gibbs, No. 14-CV-
655S, 2015 U.S. Dist. LEXIS 28445, 2015 WL 1033089,
at *2 (W.D.N.Y. Mar. 9, 2015) ("Generally, the Court will
afford a pro se plaintiff an opportunity to amend or to be
heard prior to dismissal unless the court can rule out
any possibility, however unlikely it might be, that an
amended complaint would succeed in stating a claim."
(italics and internal quotation marks omitted) (quoting
Abbas, 480 F.3d _at 639); Ogunbayo v. Montego Med.
Consulting, Nos. 11-CV-4047, [*39]_ 12-CV-428, 2012
U.S. Dist. LEXIS 179625, 2012 WL 6625921, at *7
(E.D.N.Y. Dec. 19, 2012) (adopting magistrate judge's
recommendation that the "[pjlaintiff, proceeding pro se,
should be afforded an opportunity to amend the
{dismissed] [c]omplaint"). Therefore, Plaintiff is granted
leave to amend his Complaint in order to allege
sufficient facts to show that he pursued his claims with
reasonable diligence during the time he faced the threat
of retaliation. Specifically, Plaintiff must allege what
steps he took to secure the superintendent's assurance
that he would not be retaliated against, when he took
those steps, when the superintendent offered his
support, and any other facts showing that Plaintiff

exercised reasonable diligence in pursuing his claims.
Plaintiff must also amend his Complaint to include the
allegations of retaliation raised in his motion papers—
the facts supporting Plaintiffs assertion that correction
officers threatened to retaliate against him if he filed his
lawsuit must be included in the amended complaint.
Plaintiff must file his amended complaint within 30 days
of the date of this Opinion.

It. Conclusion

Plaintiff is granted leave to file an amended complaint
within 30 days of the date of this Opinion. The Clerk of
Court is respectfully directed to terminate [*40] the
pending Motion. (See Okt. No. 22.)

SO ORDERED.

Dated: September 30, 2016
White Plains, New York

/s/ Kenneth M. Karas
KENNETH M. KARAS

UNITED STATES DISTRICT JUDGE

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As of: November 26, 2024 4:50 PM Z

Jackson v. United States

United States Court of Appeals for the Sixth Circuit
December 3, 2013, Argued; May 12, 2014, Decided; May 12, 2014, Filed
File Name: 14a0097p.06
No. 13-1243

Reporter

751 F.3d 712 *; 2014 U.S. App. LEXIS 8814 **; 2014 FED App. 0097P (6th Cir.) ***; 2014 WL 1876240

BOBBY G. JACKSON, Plaintiff-Appellant, v. UNITED
STATES OF AMERICA, Defendant-Appellee.

Subsequent History: Rehearing denied by Jackson v.
United States, 2014 U.S. App. LEXIS 13779 (6th Cir.,

July 2, 2014

Prior History: [**1] Appeal from the United States
District Court for the Eastern District of Michigan at
Detroit. No. 2:12-cv-10124—Lawrence P. Zatkoff,
District Judge.

Jackson v. United States, 2013 U.S. Dist, LEXIS 12149
(E.D. Mich., Jan. 30,2013)

Core Terms

equitable tolling, district court, mail, claimant, denial
letter, tolling, six-month, limitations period, notice, file
suit, sovereign immunity, court's decision, triggered,
deadline, filing requirements, equitably, argues, tort
claim, forwarding, lack of subject matter jurisdiction,
constructive knowledge, diligence, factors, suits, statute
of limitations, limitation provision, abuse of discretion,
motion to dismiss, rebuttable, two-year

Case Summary

The government's motion to dismiss for lack of subject
matter jurisdiction was properly granted; [2]-Even
assuming that equitable tolling was available, the district
court did not abuse its discretion in not equitably tolling
plaintiffs claim; [3}-Because the government certified
that the other driver was acting within the scope of his
federal employment when the accident occurred,
plaintiffs state-law tort claim against the other driver
was properly dismissed.

Outcome
Judgment affirmed.

LexisNexis® Headnotes

Civil Procedure > Appeals > Standards of
Review > De Novo Review

Civil Procedure > ... > Jurisdiction > Subject Matter
Jurisdiction > General Overview

Civil Procedure > ... > Responses > Defenses,
Demurrers & Objections > Motions to Dismiss

HN1(x%) Standards of Review, De Novo Review

Overview

HOLDINGS: [1}-Pursuant to the FTCA, plaintiffs lawsuit
stemming from a car accident was untimely. Under 28
U.S.C.S. § 2401(b), ICE's mailing of the denial letter
triggered the six-month limitation period. Furthermore, a
Department of Justice regulation, 28 C.F.R. § 14.9(a),
clarified that the agency was required only to send the
denial letter to either plaintiff or her attorney, not both.

The United States Court of Appeals for the Sixth Circuit
reviews de novo a district court's judgment dismissing a
complaint for the lack of subject matter jurisdiction.

Governments > Federal Government > Claims By &
Against

HN2%] Federal Government, Claims By & Against

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751 F.3d 712, *712; 2014 U.S. App. LEXIS 8814, **1; 2014 FED App. 0097P (6th Cir.), ***Cir.)

The doctrine of sovereign immunity shields the United
States from lawsuits. Suits brought against the United
States are therefore dismissed unless a claimant can
point to an express waiver of sovereign immunity. When
Congress enacts a statute that waives federal sovereign
immunity a court may not enlarge the waiver beyond
what the language requires.

Torts > ... > Liability > Federal Tort Claims
Act > General Overview

Torts > ... > Liability > Federal Tort Claims
Act > Procedural Matters

HN3[%] Liability, Federal Tort Claims Act

The Federal Tort Claims Act allows a claimant to bring a
cause of action against the United States, for money
damages for injury or loss of property, or personal injury
or death caused by the negligent or wrongful act or
omission of any employee of the Government while
acting within the scope of his office or employment. 28
U.S.C.S. § 1346(b)(1). This waiver of sovereign
immunity requires a claimant to abide by the terms of 28
U.S.C.S. § 2401(b): A tort claim against the United
States shall be forever barred unless it is presented in
writing to the appropriate Federal agency within two
years after such claim accrues or unless action is begun
within six months after the date of mailing, by certified or
registered mail, of the notice of final denial of the claim
by the agency to which it was presented.

Torts > ... > Liability > Federal Tort Claims
Act > Procedural Matters

HN4[%] Federal Tort Claims Act, Procedural
Matters

With respect to situations in which a federal agency's
delay precludes the claimant from bringing a claim—for
example, when an agency has not yet issued a notice of
denial—a claimant may sue the United States according
to the terms of 28 U.S.C.S. § 2675(a): An action shall
not be instituted upon a claim against the United States
unless the claimant shall have first presented the claim
to the appropriate Federal agency and his claim shall
have been finally denied by the agency in writing and
sent by certified or registered mail. The failure of an
agency to make final disposition of a claim within six
months after it is filed shall, at the option of the claimant

any time thereafter, be deemed a final denial of the
claim for purposes of this section. Therefore, a claimant
may sue the United States pursuant to the Federal Tort
Claims Act six months after presenting a claim to an
agency. 28 U.S.C.S. § 2675/a). A claimant may no
longer sue the United States six months after the time
that an agency mails a denial letter. 28 U.S.C.S. §

2401/(b).

Torts > ... > Liability > Federal Tort Claims
Act > Procedural! Matters

HN5(%] Federal Tort Claims Act, Procedural
Matters

The Federal Tort Claims Act (FTCA) unambiguously
states that the six-month limitation window for bringing
suit runs from the date of an agency's mailing of a denial
letter. 28 U.S.C.S. § 2401(b). The FTCA does not
require that the claimant receive the denial letter in
order to commence the six-month limitation period. The
FTCA requires only that the agency mail the denial by
certified mail.

Torts > ... > Liability > Federal Tort Claims
Act > Procedural Matters

HNG6[X) Federal Tort Claims Act, Procedural
Matters

See 28 C.F.R. § 14.9/(a).

Civil Procedure > Appeals > Standards of
Review > Abuse of Discretion

Governments > Federal Government > Claims By &
Against

Governments > Legislation > Statute of
Limitations > Tolling

HN7|%] Standards of Review, Abuse of Discretion

The abuse of discretion standard applies to a district
court's refusal to apply the doctrine of equitable tolling
when facts are in dispute. Equitable tolling allows a
federal court to toll a statute of limitations when a
litigant's failure to meet a legally-mandated deadline
unavoidably arose from circumstances beyond that

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litigant's control. While equitable tolling may be applied
in suits against the government, courts will only do so
sparingly, and not when there has only been a garden
variety claim of excusable neglect.

Governments > Legislation > Statute of
Limitations > Tolling

HNg[%] Statute of Limitations, Tolling

To determine whether equitable tolling is available to a
plaintiff, a court considers five factors: (1) the plaintiffs
lack of notice of the filing requirement; (2) the plaintiffs
lack of constructive knowledge of the filing requirement;
(3) the plaintiffs diligence in pursuing her rights; (4) an
absence of prejudice to the defendant; and (5) the
plaintiffs reasonableness in remaining ignorant of the
particular legal requirement.

Torts > ... > Liability > Federal Tort Claims
Act > Employees

Torts > ... > Liability > Federal Tort Claims
Act > Scope of Employment

HNg[%] Federal Tort Claims Act, Employees

When a tort claim is brought against a federal
employee, the Federal Employees Liability Reform and
Tort Compensation Act of 1988, commonly known as
the Westfall Act, applies. Pub. L. No. 100-694, §§ 5-6,
102 Stat. 4563 (1988). The Westfall Act empowers the
Attorney General to certify that the employee was acting
within the scope of his office or employment at the time
of the incident giving rise to the claim. Upon certification,
the United States is substituted for the employee as a
defendant, and the claim is litigated under the Federal
Tort Claims Act (FTCA) and is subject to dismissal on
any basis applicable to FTCA claims. 28 US.C.S. §
2679(d)(4). Any suit against the employee arising out of
or related to the same subject matter is precluded. 28
U.S.C.S. § 2679(b)(1).

Counsel: ARGUED: Phillip S. Serafini, SERAFINI,
MICHALOWSKI, DERKACZ & ASSOCIATES, P.C.,
Sterling Heights, Michigan, for Appellant.

Andrew J. Lievense, UNITED STATES ATTORNEY'S
OFFICE, Detroit, Michigan, for Appellee.

ON BRIEF: Phillip S. Serafini, SERAFINI,

MICHALOWSKI, DERKACZ & ASSOCIATES, P.C.,
Sterling Heights, Michigan, for Appellant.

Andrew J. Lievense, UNITED STATES ATTORNEY'S
OFFICE, Detroit, Michigan, for Appellee.

Judges: BEFORE: SILER, McKEAGUE, and WHITE,
Circuit Judges. McKEAGUE, J., delivered the opinion of
the court, in which SILER, J., concurred. WHITE, J.,
delivered a separate dissenting opinion.

Opinion by: MCKEAGUE

Opinion

[*714] [***2] McKeAGUE, Circuit Judge. This case
involves the Federal Tort Claims Act, namely, whether
plaintiff Bobby Jackson timely brought her suit against
the United States. The district court found that she did
not, and granted the United States’ motion to dismiss.
The district court further declined to apply equitable
tolling to Jackson's claim. We affirm.

I.
On January 13, 2009, Bobby Jackson was involved in a

car accident with Michele Baittistelli, [**2] an Assistant
Special Agent in Charge who worked at the Detroit Field

Office of the U.S. Immigration and Customs
Enforcement Agency, a component of the USS.
Department of Homeland Security. According to

Jackson, Battistelli's negligent driving resulted in a
head-on collision while Jackson was stopped at an
intersection. Jackson suffered multiple injuries, including
damage to her head and spinal cord.

After the accident, Jackson retained the services of
Michael Shaffer, an attorney with the law firm Gursten,
Koltonow, Gursten, Christensen and Raitt, P.C., known
also as Michigan Autolaw. On March 5, 2009, Shaffer
submitted Jackson's administrative claim for Damage,
Injury, or Death. Shaffer, however, erroneously mailed
Jackson's claim to the Department of Homeland
Security, which then forwarded Jackson's claim to the
Immigration and Customs Enforcement Agency. On
June 17, 2009, the Immigration and Customs
Enforcement Agency received Jackson's claim. The
cover letter included with Jackson's claim listed
Shaffer's mailing address as being located on
Evergreen Road in Southfield, Michigan. The claim form
itself included Jackson's name and mailing address.

On July 7, 2009, the Immigration and [**3] Customs
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Enforcement Agency confirmed receipt of Jackson's
claim in correspondence to Shaffer. This receipt letter
was sent to the Evergreen Road address provided by
Shaffer on the cover letter. Shaffer received the receipt
letter. The receipt letter stated that the agency would
process Jackson's claim pursuant to the Federal Tort
Claims Act ("FTCA"), which allows an agency "up to six
months to adjudicate a damage claim, [***3] beginning
from the date the agency receives the claim." The letter
advised, “[o]Jnce we complete our adjudication, we will
send you a letter informing you of our findings. If the
agency fails to adjudicate your claim within six months
of the date of receipt, or if it denies the claim, you can
file a lawsuit in the appropriate United States District
Court."

On March 8, 2011, the Immigration and Customs
Agency via certified mail sent a "final determination”
denying Jackson's administrative claim. This denial
letter noted that if Jackson was dissatisfied with the
agency's decision, she could file suit in the appropriate
district court "no later than six months after the date of
mailing of this notice of final denial." The agency sent
the denial! letter to the Evergreen Road [**4] address
Shaffer provided on the cover letter, the same address
to which it sent the receipt letter. On March 23, 2011,
the U.S. Postal Service returned the denial letter to the
Immigration and Customs Agency, marking the denial
letter as "Not Deliverable as Addressed. Unable to
Forward." [*745] Apparently, Shaffer's firm had
changed locations in May of 2010.

The parties disagree whether a forwarding order was in
place. Jackson contends that Michigan Autolaw put in
place a one-year forwarding order for its mail when it
moved, and that for eight months after the forwarding
order expired it regularly sent a runner to collect the
mail. In response, the government notes that a one-year
forwarding order would have been in effect when the
denial letter was mailed, yet that certified letter was
marked unable to be forwarded, and_ tracking
information for the letter stated that Michigan Autolaw
had moved and left no forwarding address.' The parties
also disagree whether the information about changing
locations was conveyed to the Immigration and
Customs Agency. According to the government, Shaffer
never informed the Immigration and Customs Agency of
the new address. Regardless, the denial letter never

t Jackson herself admits that computer tracking information
provided by the U.S. Postal Service indicated that the denial
letter could not be delivered because Michigan Autolaw had
"Moved, left no address.”

[**5] reached Jackson or Jackson's attorney. Despite
receiving the undelivered mail, the agency took no
further action.

Further complicating the situation is the fact that
Jackson may have switched attorneys, or at least relied
on the services of multiple counsel. Jackson contends
that at some point Shaffer transferred her case to Phillip
Serafini, an attorney at the law firm Serafini,
Michalowski, [***4] Derkacz & Associates. She argues
that the agency was aware of this change due to an
alleged February 2, 2011 phone conversation between
Serafini and Toya Azian, a paralegal specialist with the
Immigrations and Customs Enforcement Agency.
According to Jackson, Azian called Serafini and asked
him to submit a demand letter. In support, Jackson
submits an affidavit from Serafini as well as Serafini's
handwritten notes regarding the phone call. The
Government counters that the “agency's claim file
contains no record of that phone call or that any such
information regarding a new lawyer was provided
[**6] to the agency in writing or otherwise, and [Azian]
no longer works for the agency.” Def. Br. at 18. The
parties do not dispute that Serafini did not send formal
notice to the agency that he was counsel of record in
the case or submit the requested demand letter.

On January 11, 2012, Jackson filed suit in the U.S.
District Court for the Eastern District of Michigan under
the FTCA. Jackson also filed a tort case against
Battistelli in state court that Battistelli removed to federal
court, which was then consolidated with Jackson's
federal court claim after Battistelli was dismissed as a
party to the case. The government moved to dismiss
Jackson's suit for lack of subject matter jurisdiction on
the grounds that her filing was untimely. The
government argued that the agency's mailing of the
March 8, 2011 denial letter triggered a six-month
window in which Jackson had to file her suit, meaning
her last opportunity to file suit was on September 8,
2011. As a result, according to the government,
Jackson's filing of her claim on January 11, 2012—four
months after the six-month limitation period—was
barred by the FTCA. Jackson argued that the six-month
limitation period was not triggered because [**7] neither
she nor her attorney received the denial letter. In the
alternative, Jackson argued that the limitation period
should be equitably tolled to allow her to file her suit.

On January 30, 2013, the district court granted the
United States’ motion to dismiss for lack of subject
matter jurisdiction. [*716] The district court ruled that
the plain language of the FTCA indicated that the
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mailing of the denial letter triggered the six-month
limitation period, thus rendering Jackson's filing of her
suit on January 11, 2013 untimely and barred by the
FTCA. The district court further did not equitably toll the
limitation period on the grounds that Jackson was not
diligent or reasonable in not filing suit, reasoning that
the July 7, 2009 receipt letter received by Shaffer
communicated that Jackson "could have filed suit as
early as December 2009 [***5] [and] yet [she] did not
do so." R. 16, Dist. Ct. Opn. at 9, PagelD # 111 ("As
such, [Jackson] had nearly two years to file suit."). The
district court also noted that Jackson could not "claim a
lack of notice or constructive knowledge of the filing
requirement" given her knowledge of the FTCA's
requirements and her having filed her claim within the
two-year [**8] accrual period. Finally, the district court
observed that applying equitable tolling to Jackson's
claim would prejudice the United States. This appeal
followed.

The first issue concerns the district court's dismissal of
Jackson's complaint for lack of subject matter
jurisdiction. The district court did so on the grounds that
Jackson filed her claim against the United States
outside of the time period permitted by the FTCA. HN1[
¥] "We review de novo a district court's judgment
dismissing a complaint for the lack of subject matter
jurisdiction." Davis v. United States, 499 F.3d 590, 593
(6th Cir. 2007) (citing Sutton v. St. Jude Med. S.C., Inc.,
419 F.3d 568, 570 (6th Cir. 2005)).

HN2[#] The doctrine of sovereign immunity shields the
United States from lawsuits. See Dep't of the Army v.
Blue Fox, Inc., 525 U.S. 255, 260, 119 S. Ct. 687, 142
L. Ed. 20d 718 (1999). Suits brought against the United
States are therefore dismissed unless a claimant can
point to an express waiver of sovereign immunity. See
id. (citing FDIC v. Meyer, 510 U.S. 471, 475, 114 S. Ct.
996, 127 L. Ed. 2d 308 (1994)): see also Lane v. Pena
518 U.S. 187, 192, 116 S. Ct. 2092, 135 L. Ed. 2d 486
(1996) ("A waiver of the Federal Government's
sovereign immunity must be unequivocally expressed in
statutory text, and will not be implied.” [**9] (internal
citations omitted)). As noted by the district court, “when
Congress enacts a statute that waives federal sovereign
immunity . . . a court may not enlarge the waiver beyond
what the language requires." R. 16, Dist. Ct. Opn. at 4,
PagelD # 106 (internal quotation marks and citations
omitted).

The waiver at issue in this case is the one provided

under the FTCA. HN3[¥] The FTCA allows a claimant
to bring a cause of action "against the United States, for
money damages... . for injury or loss of property, or
personal injury or death caused by the negligent or
wrongful act or omission of any employee of the
Government while acting within the scope of his office or
employment{.]" 28 U.S.C.A. § 1346/b)(1). This waiver of
sovereign immunity requires a claimant to abide by the

terms of § 2401(b):

[***6] A tort claim against the United States shall
be forever barred unless it is presented in writing to
the appropriate Federal agency within two years
after such claim accrues or unless action is begun
within six months after the date of mailing, by
certified or registered mail, of the notice of final
denial of the claim by the agency fo which it was
presented.

28 U.S.C. § 2401(b) (emphasis added). HN4[#) With
[**10] respect to situations in which the agency's delay
precludes the claimant from bringing a claim—for
example, when an agency has not yet issued a notice of
denial—a [*717] claimant may sue the United States
according to the terms of § 2675(a):

An action shall not be instituted upon a claim
against the United States . . . unless the claimant
shall have first presented the claim to the
appropriate Federal agency and his claim shall
have been finally denied by the agency in writing
and sent by certified or registered mail. The failure
of an agency to make final disposition of a claim
within six months aiter it is filed shall, at the option
of the claimant any time thereafter, be deemed a
final denial of the claim for purposes of this section.

28 U.S.C. § 2675(a} (emphasis added). Therefore, a
claimant may sue the United States pursuant to the
FTCA six months after presenting a claim to an agency.
See id. A claimant may no longer sue the United States
six months after the time that an agency mails a denial
letter. 28 U.S.C. § 2401(b).

Applying that standard here, on January 13, 2009 (the
date of the car accident), Jackson's claim accrued. On
June 17, 2009, her claim was presented to the agency.
On [**41] December 17, 2009, Jackson could have
brought suit against the United States. Nearly one and a
half years passed, during which time Jackson did not
bring suit. On March 8, 2011, the agency sent its denial
letter by certified mail (which Jackson did not receive).
On September 8, 2011, the sixmonth limitation period
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during which Jackson was required to bring suit closed.
On January 11, 2012—four months after the window
closed—Jackson filed her suit. The plain language of
the FTCA foreclosed Jackson's ability to file suit at that
time, meaning that her filing was untimely and must be
dismissed. See 28 U.S.C. § 2407(b).

Jackson argues that an “undelivered notice of denial"
does not trigger the six-month limitation window outlined
in the FTCA, PI. Br. at 12. This is incorrect. HN5[*] The
FTCA unambiguously states that the six-month
limitation window runs “from the date of mailing.” 28
U.S.C. § 2401(b). As our sister circuits have noted, the
FTCA does not require that the claimant receive the
denial letter in order to commence the six-month
limitation period. See [***7] Berti v. V.A. Hosp., 860
F.2d 338, 340 (9th Cir. 1988) (declining to read a receipt
requirement into the FTCA); Carr v. Veterans Admin.,
522 F.2d 1355, 1357 (5th Cir. 1975) [**12] (same). The
FTCA requires only that the agency mail the denial by
certified mail. This the agency did. An added receipt
requirement would constitute a burden on the agency to
guarantee delivery, and would in fact be construing the
FTCA in favor of plaintiffs suing the United States, when
the Supreme Court has instructed courts to do the
opposite. See Lane, 518 U.S. at 192 ("Moreover, a
waiver of the Government's sovereign immunity will be
strictly construed, in terms of its scope, in favor of the
sovereign." (internal citations omitted)).

Another factor leading to the same conclusion is 28
C.F.R. § 14.9(a), the Department of Justice regulation
construing the FTCA's six-month limitation provision.
See Chevron, U.S.A., Inc. v. Natural Res. Def. Council,
Inc., 467 U.S. 837, 843-44, 104 S. Ct. 2778, 81 L. Ed.
2d 694 (1984); see also 28 U.S.C. § 2672 (granting the
Attorney General authority to promulgate regulations).

Section 14.9(a) states:

HN6[#] Final denial of an administrative claim shall
be in writing and sent to the claimant, his attorney,
or legal representative by certified or registered
mail. The notification of final denial may include a
statement of the reasons for the denial and shall
include a statement that, if the [**13] claimant is
dissatisfied with the agency action, he may file suit
in an appropriate U.S. District Court not later than 6
[*718] months after the date of mailing of the
notification.

28 C.F.R. § 14.9(a) (emphasis added). Jackson argues
that, in light of the returned denial letter, the agency was
required to mail the denial Jetter to both her and her

counsel even though the regulation clearly states that
an agency's sending the denial to the claimant or her
legal representative is sufficient to trigger the six-month
limitation window.2 See id. While the agency's mailing
the returned denial letter to Jackson herself may have
been the preferred course of action, it was not the
required course of action. Again, reading an additional
requirement into this regulation—that the agency must
send the denial to multiple parties—runs counter to a
[***8] court's duty to construe waivers of sovereign
immunity in favor of the government.® See Lane, 518
U.S. at 192.

In sum, the plain language of the FTCA indicates that
the Immigration and Customs Enforcement Agency's
mailing the denial letter triggered the six-month
limitation period. Furthermore, the Department of
Justice Regulation clarifies that the agency was required
only to send the denial letter to either Jackson or her
attorney, not Jackson and her attorney. Because
Jackson filed her suit after the six-month limitation
period ran, her claim was [**15] untimely. Therefore,
we agree with the district court that the government's
motion to dismiss for lack of subject matter jurisdiction
should be granted.

The next issue concerns the district court's decision not
to equitably toll Jackson's claim, which, given that the
parties dispute certain facts, is reviewed under an abuse
of discretion standard. See Dunlap v. United States, 250
F.3d 1001, 1007 n.2 (6th Cir. 2001) (noting that HN7[*]
the abuse of discretion standard applies to a district

2To support her argument, Jackson points only to Matos v.
United States, 380 F. Supp. 20d 36, 40 (D.P.R. 2005), a case in
which a district court determined that the six-month limitations
window was not triggered because the agency had "available
the necessary [**14] information to ensure that delivery by
certified mail be achieved” in light of the fact that the agency
had two addresses for the claimant's counsel. This reasoning
runs contrary to that relied on by other courts. See generally
Berti_860 F.2d at 340 ("{T]he running of the statutory period
[begins] from the date of mailing of a certified or registered
letter."); Carr, 522 F.2d at 1357 ("[T]he plain words of the
statute . . . specify that an action be begun within six months
after the 'date of mailing."’). Furthermore, this case is not
controlling authority in this circuit.

3 Moreover, as the government notes, the agency might have
been reprimanded for directly communicating with an
individual who was represented by counsel. See Def. Br. at 22
n.1.
court's refusal to apply the doctrine of equitable tolling
when facts are in dispute); Truitt v. Cnty. of Wayne, 148
F.3d 644, 648 (6th Cir. 1998) ("We review a district
court's decision regarding equitable tolling for an abuse
of discretion."). Equitable tolling allows a federal court
"to toll a statute of limitations when a litigant's failure to
meet a legally-mandated deadline unavoidably arose
from circumstances beyond that litigant's control."
Robertson _v. Simpson, 624 F.3d 781, 783 (6th Cir,
2010) (internal quotation marks and citation omitted).
While “equitable tolling may be applied in suits against
the government, courts will only do so sparingly, and not
when there has only been a garden variety [**16] claim
of excusable neglect." Chomic v. United States, 377
F.3d_607, 615 (6th Cir. 2004) (internal quotation marks
and citation omitted). Jackson carries the burden of
establishing her entitlement to [*719] equitable tolling.
See Robertson, 624 F.3d at 784.

The issue of equitable tolling raises two questions. First
is the question of whether equitable tolling applies to the
FTCA's limitations period, which depends on whether
the time [***9] limitations in the FTCA are jurisdictional
in nature. This question has prompted some variance
within this circuit. See, e.g., Bazzo v. United States, 494
F. App'x 545, 546 (6th Cir, 2012) ("The question
whether § 2401(b)'s exhaustion provisions constitute
jurisdictional requirements divides circuit courts and
even prompts inconsistent rulings within this circuit.").4
Moreover, the government argues that equitable tolling
is not available in light of recent Supreme Court
precedent. See generally John R. Sand & Gravel Co. v.
United States, 552 U.S. 130, 128 S. Ct. 750, 169 L. Ed.
2d_ 591 (2008) (ruling that 28 U.S.C. § 2501 was
jurisdictional and thus not subject to equitable tolling). If
equitable tolling does not apply, Jackson cannot
recover. If equitable tolling does apply, this raises the
second [**17] question as to whether the district court
abused its discretion in not equitably tolling Jackson's

4 Compare Glarner v. U.S. Dep't of Veterans Admin., 30 F.3d
697. 701 (6th Cir. 1994) ("[T]he VA first argues that the
doctrine of equitable tolling cannot apply to § 2401/b) because
the latter is a jurisdictional statute of limitations that cannot be
equitably tolled. This assertion is incorrect."), with Rogers v.
United States, 675 F.2d 123, 124 (6th Cir. 1982) ("There is no
equitable exception to the jurisdictional prerequisites of the
Federal Tort Claims Act in this Circuit and we decline to create
one."), and Humphrey v._U.S. Att'y Gen.'s Office, 279 F. App'x
328, 332 (6th Cir. 2008) ("The requirement that a claim
pursuant to the FTCA be commenced within six months of an
administrative denial is a jurisdictional prerequisite to suit and
a failure to comply warrants dismissal on the merits.”).

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claim. The district court did not address the first
question, finding that “even if equitable tolling applies,
[Jackson] has not shown her entitlement to such relief."
R. 16, Dist. Ct. Opn. at 9, PagelD # 111.

We agree with the district court that we need not decide
the issue of whether the time [**18] limitations in the
FTCA are jurisdictional in nature because, even
assuming that equitable tolling is available, we find that
the district court did not abuse its discretion in not
equitably tolling Jackson's claim. See generally Bazzo,
494 F. App'x at 547 ("We need not resolve this circuit
split today. Assuming the availability of equitable tolling,
Bazzo has not shown that the district court abused its
discretion in denying relief."). HNS[#] To determine
whether equitable tolling is available to a plaintiff, a
court considers five factors: (1) the plaintiffs lack of
notice of the filing requirement; (2) the plaintiffs lack of
constructive knowledge of the filing requirement; (3) the
plaintiff's diligence in pursuing her rights; (4) an absence
of prejudice to the defendant; and (5) the plaintiffs
reasonableness in remaining ignorant of the particular
legal requirement. Truitt, 148 F.3d at 648. We find that
the district court's weighing of these factors and denial
of equitable tolling to be well within its discretion.

[***10] As to the first and second factors, notice and
constructive knowledge, the district court noted that
Jackson could not claim a lack of notice or constructive
knowledge of [**19] the filing requirement given her
knowledge of the FTCA's filing requirements and her
having filed her claim within the two-year accrual period.
The district court could reasonably ascertain from this
information that Jackson and her counsel were aware of
the relevant provisions in the FTCA governing when a
claim could be filed. While it is true that the district court
did not focus on the six-month deadline triggered by the
agency's denial letter, [*720] the district court was not
required to emphasize the six-month limitation period
over the two-year accrual period in evaluating the notice
and constructive knowledge factors.

The district court's analysis of the final three factors also
did not amount to an abuse of discretion. As to the third
factor, diligence, and the fifth factor, reasonableness,
the district court's observation that the July 7, 2009
receipt letter received by Shaffer communicated that
Jackson “could have filed suit as early as December
2009" as well as its reliance on the fact that Jackson did
not file her suit despite having had nearly two years to
do so was sound and did not amount to an abuse of
discretion. R. 16, Dist. Ct. Opn. at 9, PagelD # 111.
Moreover, the district [**20] court's attention to the fact

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that a full four months—rather than mere days or a
week—had passed between the six-month statutory
deadline and the filing of Jackson's claim was similarly
reasonable and not an abuse of discretion. Finally, the
district court did not abuse its discretion in considering
the fourth factor, prejudice, as it noted the difficultly the
government would have in litigating a matter that was
filed four months beyond the limitations period.

Although Jackson argues that a situation in which a
denial letter was never delivered mandates application
of equitable tolling, she cites to no authority supporting
her claim. We note that the denial letter presumably
would have been properly delivered had either Shaffer
or Serafini updated the agency with the correct mailing
address. However we also take note of cases in which
courts ruled that equitable tolling did not apply despite
the fact that actions taken by the claimant's counsel
played a role in the untimely filing. In Bazzo, a claimant
sought to file a negligence suit against the physician
who delivered her daughter, a physician who, the
claimant later learned—after the two-year accrual
limitation period expired—was [**21] an employee at a
federally-funded medical facility. 494 F. App'x at 546-47.
The district court labeled her [***41] counsel's work as
a “below-the-radar investigation" but still did not
equitably toll the limitations period. /d. at 547. This court
affirmed the district court's decision, despite the fact that
the claimant's counsel offered “no explanation for these
oversights." /d.; see also Ramos v. U.S. Dep't of Health
& Human Servs., 429 F. App'x 947, 951 (11th Cir. 2011)
(declining to apply equitable tolling where claimant's
"counsel conceded that there was a government
website listing federally funded clinics, that [the alleged
tortfeasor] was listed on the site, and that he had been
unaware of and had not checked the website"). A similar
analysis applies to Jackson's claim. Contrary to
Jackson's assertion, it was within the district court's
discretion not to apply equitable tolling to the limitations
period. We thus find no abuse of discretion in the district
court's decision.

IV.

The final issue concerns Jackson's state-law tort claim
against Battistelli. Jackson argues that her state-law tort
claim against Battistelli should have survived dismissal
of her FTCA claim. This is incorrect.

HNO[#) When [**22] a tort claim is brought against a
federal employee, the Federal Employees Liability
Reform and Tort Compensation Act of 1988, commonly
known as the Westfall Act, applies. See Pub. L. No.

100-694, §§ 5-6, 102 Stat. 4563 (1988). The Westfall
Act “empowers the Attorney General to certify that the
employee was acting within the scope of his office or
employment at the time of the incident . . ." giving rise to
the claim. Gutierrez de Martinez [*721] v. Lamagno,
515 U.S, 417, 420, 115 S. Ct. 2227, 132 L. Ed. 2d 375
(1995) (quoting 28 U.S.C. § 2679(d}(1)). Upon
certification, the United States is substituted for the
employee as a defendant, and the claim is litigated
under the FTCA and is subject to dismissal on any basis
applicable to FTCA claims. See 28 U.S.C. § 2679(d)(4)
(providing that the claims "shall be subject to the
limitations and exceptions applicable to those [FTCA]
actions"); Dolan v. United States, 514 F.3d_587, 593
(6th Cir. 2008) ("[I]f [**23] the defendant federal
employee was acting in the scope of his or her
employment, substitution of the United States as
defendant is appropriate and the district court must
assess the plaintiff's claims pursuant to the [FTCA]...
the case must be dismissed for Jack of jurisdiction.");
see also United States v. Smith, 499 U.S. 160, 166, 111
S. Ct. 1180, 113 L. Ed. 2d 134 (1991) ("[T]he FTCA [is]
the exclusive mode of recovery for the tort of a
Government employee even when the FTCA itself
precludes Government liability."). Any [***42] suit
against the employee "arising out of or related to the
same subject matter" is precluded. 28 U.S.C. §
2679(b)(1). Because the government certified that
Battistelli was acting within the scope of his employment
when the accident occurred, Jackson's claim against
Battistelli must be dismissed.

V.

For the reasons discussed above, the district court's
grant of the government's motion to dismiss for lack of
subject matter jurisdiction, its decision not to equitably
toll Jackson's claim, and the dismissal of Jackson's
state-law tort claim against Battistelli are AFFIRMED.

Dissent by: HELENE N. WHITE

Dissent

[***13] DISSENT

HELENE N. WHITE, Circuit Judge, dissenting. The
majority affirms the district court's decision not to apply
[**24} equitable tolling to the limitations period of
Jackson's FTCA suit. | find tolling warranted and
therefore dissent.

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751 F.3d 712, *721; 2014 U.S. App. LEXIS 8814, **24; 2014 FED App. 0097P (6th Cir.), ***13

As the majority notes, the issue of equitable tolling
raises two questions: (1) whether the FTCA's limitations
provision, 28 U.S.C. § 2401(b), is jurisdictional and not
subject to tolling, and (2) whether equitable tolling is
available to Jackson on the merits.

A.

Our decision in Glarner v. United States Department of
Veterans Administration, 30 F.3d_697 (1994), resolves
the first question. In Glarner, we looked to the Supreme
Court's decision in Irwin v. Veterans Affairs, 498 U.S.
89, 111 S. Ct. 453, 112 L. Ed. 2d 435 (1990), which
created a rebuttable presumption that equitable tolling
applies to suits against the United States. Invin, 498
U.S. at 95-96 ("We therefore hold that the same
rebuttable presumption of equitable tolling applicable to
suits against private defendants should also apply to
suits against the United States. Congress, of course,
may provide otherwise if it wishes to do so."). Observing
that nothing indicated that Congress had “provided
otherwise" with respect to § 2401(b), we concluded that
Irwin's rebuttable presumption was fully applicable and,
therefore, 2401(b} was a non-jurisdictional
[**25] statute of limitations that was subject to tolling.
See Glarner, 30 F.3d at 701 ("[T]he VA first argues that
the doctrine of equitable tolling cannot apply to §
2401(b) because the fatter is a jurisdictional statute of
limitations that cannot be equitably tolled. This assertion
is incorrect.").

[*722] Somewhat confusingly, we have never cited
Glarner for this proposition, and since Glarner, the court
has referred to § 2401(b) as jurisdictional without
reference to Glarner. See, e.g., Humphrey v. United
States Attorney Gen.'s Office, 279 F. App'x 328, 332
(6th Cir. 2008) (“The requirement that a claim pursuant
to the FTCA be commenced within six months of an
administrative denial is a jurisdictional prerequisite to
suit and a failure to comply warrants § [***14]
dismissal"); Sullivan ex rel. Lampkins v. Am. Cmty. Mut.
Ins. Co., 208 F.3d 215 (6th Cir. 2000) (table) (describing
the two-year deadline for filing administrative claims as
jurisdictional); see also Bazzo v. United States, 494 F.
App'’x 545, 546 (6th Cir. 2012} (comparing Glarner with
Humphrey and Sullivan and observing, "[t]he question
whether § 2401(b)'s exhaustion provisions constitute
jurisdictional requirements divides circuit courts and
[**26] even prompts inconsistent rulings within this
circuit."). Nonetheless, as Judge Stranch recognized in
her dissent in Bazzo, Glarner has not been overruled

and is the law of the circuit. Bazzo, 494 F. App'x at 548
(Stranch, J. dissenting) ("Until the Supreme Court or our
Court sitting en banc holds that the exhaustion
provisions of 28 U.S.C. § 2401/b) are jurisdictional
requirements, | would affirm the district court's decision
that the statute is not jurisdictional and that equitable
tolling may be applied based on our prior decision in
Glarner.").

The government contends that the Supreme Court's
decision in John_R. Sand & Gravel Co. v. United States,
552 U.S. 130, 128 S. Ct. 750, 169 L. Ed. 2d 597 (2008),
implicitly overruled Glarner, but it did not. In John R., the
Court held that the statute of limitations for filing actions
in the United States Court of Federal Claims, 28 U.S.C.
§ 2501, is a jurisdictional limitations period not subject to
waiver. The government points to language in the
decision distinguishing statutes of limitations that "seek
primarily to protect defendants against stale or unduly
delayed claims" which may be treated as an affirmative
defense, from those that seek "to achieve a broader
system-related [**27] goal, such as . . . limiting the
scope of a governmental waiver of sovereign immunity"
which are "more absolute" and which "the Court has
sometimes referred to . . . as jurisdictional." John R.
552 U.S, at 133-34. The government argues that §
2401(b} falls in the latter category and accordingly,
under John R. is jurisdictional and cannot be tolled. But
John R. did not employ that distinction to categorize §
2501 and then find tolling inapplicable. Rather,
consistent with Irwin, the Court held that congressional
silence in the face of the Court's long-held precedent
finding § 2507 jurisdictional was sufficient to rebut
Irwin's presumption that equitable tolling applied. /d. af
137-38 ("Specific statutory language . . . could rebut
[Irwin's] presumption by demonstrating Congress’ intent
to the contrary. And if so, a definitive earlier
interpretation of the statute, finding a _ similar
congressional intent, should offer a similarly sufficient
rebuttal."). Because no such Supreme Court precedent
exists with respect to § 2401/b), Congressional silence
does not rebut /rwin's presumption that equitable tolling
is available. Accordingly, John [***15] R. does not
undermine this court's decision in [**28] Glarner. See
Arteaga v. United States, 711 F.3d_828, 833 (7th Cir.
2013} (Posner, J.) (finding the FTCA limitations
provision non-jurisdictional and subject to tolling, and
noting "[t]he opinion in John R. Sand & Gravel actually
reaffirms the presumption that equitable tolling applies
to statutes of limitations in suits against the government,
while emphasizing that the presumption is rebuttable")
(citation omitted); see also Santos ex_rel. Beato v.
[*723] United States, 559 F.3d 189, 197 (3d Cir. 2009)

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751 F.3d 712, *723; 2014 U.S. App. LEXIS 8814, **28; 2014 FED App. 0097P (6th Cir.), ***15

(stating, when concluding that John R. did not invalidate
its prior determination that the FTCA limitations
provision is non-jurisdictional and subject to tolling, "the
Court in John R. applied but did not overrule Irwin").
Because Glarner remains good law, the FTCA's
limitations provision is subject to equitable tolling.

B.

As to the whether the filing deadline should have been
tolled in this case, | would answer in the affirmative. As
noted, to determine whether equitable tolling applies in
a given case, the court considers five factors: (1) the
plaintiffs lack of notice of the filing requirement; (2) the
plaintiffs lack of constructive knowledge of the filing
requirement; (3) the plaintiffs [**29] diligence in
pursuing her rights; (4) an absence of prejudice to the
defendant; and (5) the plaintiffs reasonableness in
remaining ignorant of the particular legal requirement.
Truitt v. Wayne Cnty., 148 F.3d 644, 648 (6th Cir. 1998).
We review a district court's decision to deny equitable
tolling for an abuse of discretion, i.e., we reverse if the
district court relies on clearly erroneous findings of fact,
or improperly applies the law or uses an erroneous legal
standard. Romstadt v. Allstate Ins. Co., 59 F.3d 608,
615 (6th Cir. 1995).

Here, the district's court's factual determination that
Jackson had actual notice of the filing deadline was
clearly erroneous. Jackson's attorneys were surely
aware of the FTCA's general filing requirements, but it is
undisputed that neither Jackson nor her attorneys were
aware that the agency had mailed the denial letter,
triggering the six-month deadline. In other words,
Jackson had no notice of the actual deadline for filing
suit: September 8, 2011. Further, the district court erred
as a matter of law when it stated, as a basis for its
prejudice finding, that Congress did not intend to waive
sovereign immunity for late-filed claims. See R. 16, Dist.
Ct. Opn. at 10 [**30] (finding that tolling would prejudice
the government because it "would be required to
[***16] litigate a matter that unquestionably was filed
beyond the limitations period and over which Congress
did not intend to waive sovereign immunity"). The
statement was akin to finding that Congress did not
intend for equitable tolling to apply to FTCA claims,
which—pursuant to /rwin and Glarner—is plainly
incorrect. In addition, the district court's determination
that Jackson was not diligent because she could have
filed suit as early as December 2009—six months after
the agency received her claim—is, at least,
questionable. The FTCA permits, but does not require,
claimants to deem a claim denied and file suit at any

time after the agency fails to adjudicate the claim within
six months of receiving it. See 28 U.S.C. § 2675/a)
("The failure of an agency to make final disposition of a
claim within six months after it is filed shall, at the option
of the claimant any time thereafter, be deemed a final
denial of the claim for purposes of this section.")
(emphasis added); Conn v. United States, 867 F.2d
916, 920 (6th Cir. 1989) (rejecting a requirement that
the claimant exercise the option within a “reasonable”
[**31] time, observing, "the language of the statute
places the option in the claimant's hands"). Jackson
cannot be fairly deemed to have lacked diligence
because she exercised the discretion squarely granted
her under the statute.

Further, the equities weigh in Jackson's favor where the
agency knew that the six-month filing deadline was
triggered by its denial of Jackson's claim, and also
knew—because its letter was returned undelivered—
that Jackson was not aware that her claim had been
denied. It did not even follow up using information
readily available [*724] in Jackson's file by re-mailing
the denial to Jackson at her personal address provided
on her claim form. There was also evidence that the
agency was aware that Serafini had replaced Shaffer as
Jackson's attorney, and had his phone number. | would
find that the district court abused its discretion in
denying equitable tolling, and would allow Jackson's suit
to proceed.

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A Caution

As of: November 26, 2024 4:54 PM Z

Wershe v. City of Detroit

United States Court of Appeals for the Sixth Circuit
July 18, 2024, Argued; August 8, 2024, Decided; August 8, 2024, Filed
File Name: 24a0168p.06
No. 23-1902, No. 23-1903

Reporter

412 F.4th 357 *; 2024 U.S. App. LEXIS 19950 **; 2024 FED App. 0168P (6th Cir.) ***; 2024 WL 3717186

RICHARD WERSHE, JR., Plaintiff-Appellant, v. CITY
OF DETROIT, MICHIGAN; WILLIAM JASPER; KEVIN
GREENE; HERMAN GROMAN; UNKNOWN FORMER
ASSISTANT UNITED STATES ATTORNEY; CAROL
DIXON, as representative of the estate of James Dixon;
EDWARD JAMES KING; LYNN HELLAND, Defendants-
Appellees.RICHARD WERSHE, JR., Plaintiff-Appellant,
v. UNITED STATES OF AMERICA, Defendants-
Appellees.

Subsequent History: Petition for certiorari filed at,
11/06/2024

Prior History: [**1] Appeals from the United States
District Court for the Eastern District of Michigan at Flint.
Nos. 4:21-cv-11686; 4:22-cv-12596—F. Kay Behm,
District Judge.

Wershe v. City of Detroit, 2023 U.S. Dist. LEXIS
166875, 2023 WL 6096558 (E.D. Mich., Sept. 18, 2023)

Core Terms

equitable tolling, tolling, district court, statute of
limitations, retaliation, limitations period, parole,
complaints, lawsuits, motion to dismiss, allegations,
diligently, threats, filing deadline, parole hearing,
pursued, argues, factors, notice, time-barred, equitably,
constructive knowledge, bring suit, state law,
incarcerated, informant, pleadings, expired, accrue,
rights

Case Summary

Overview

HOLDINGS: [1]-The dismissal of the Complaint alleging

violations of 42 U.S.C.S. § 1983 and FTCA was proper
because the claims were plainly filed after the expiration
of the statutes of limitations and equitable tolling was
not warranted because plaintiff had constructive notice
of the deadlines, plaintiff did not diligently pursue his
claims while incarcerated, defendants would be
prejudiced by tolling after decades, and plaintiff's
ignorance of the deadlines was not reasonable.

Outcome
Judgment affirmed.

LexisNexis® Headnotes

Governments > Legislation > Statute of
Limitations > Time Limitations

HN1[a&] Statute of Limitations, Time Limitations

The legal system recognizes time limits on a party's
ability to bring claims. These time limits, reflected in
statutes of limitations, serve a number of purposes.
They prevent parties from bringing claims long after the
evidence has been lost, memories have faded, and
witnesses have disappeared. They bring security and
stability to human affairs by disallowing the revival of
claims in perpetuity. Whether a plaintiff has a just claim
or not, in light of the above considerations, the right to
be free of stale claims in time comes to prevail over the
right to prosecute them.

Governments > Legislation > Statute of
Limitations > Equitable Estoppel

Governments > Legislation > Statute of

